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                                           IN THE


        United States Court of Appeals
                         FOR THE ELEVENTH CIRCUIT

                            d
                     IRA KLEIMAN , as the Personal Representative
                         of the ESTATE OF DAVID KLEIMAN ,

                        W&K INFO DEFENSE RESEARCH , LLC,
                                                                Plaintiff-Appellant,

                                                                           Plaintiff,
                                        —v.—

                                       CRAIG WRIGHT ,
                                                                  Defendant-Appellee.

                   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


                          SUPPLEMENTAL APPENDIX
                            VOLUME XVII OF XVII

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1     right thing by his best friend.                He could have made sure Dave's

2     share of the partnership's assets made their way into the

3     estate.   Dr. Wright chose not to.                 And now you must all choose

4     whether he gets away with it.

5               Thank you, Your Honor.

6               THE COURT:    Thank you, Mr. Freedman.

7               On behalf of the Defendant?

8               MR. RIVERO:    Your Honor, I understood there would be a

9     quick break.    May I have a short rest break?

10              THE COURT:    You need a comfort break?

11              All right.    Certainly.             Let's go ahead and take a

12    10-minute recess.

13        (Jury not present, 12:20 p.m.)

14              THE COURT:    All right.             We're on a 10-minute recess.

15        (Recess from 12:20 p.m. to 12:29 p.m.)

16              MR. RIVERO:    Your Honor, just before the jury comes

17    in, I do have one matter to bring to the Court's attention.

18              THE COURT:    Of course.             Go ahead and have a seat.

19              MR. RIVERO:    During the --

20              MR. BRENNER:     Mr. Freedman is actually --

21              THE COURT:    Oh.      All right.              Hold on.    Let's wait for

22    Mr. Freedman.

23        (Pause in proceedings.)

24              THE COURT:    All right.             Yes, Mr. Rivero?

25              MR. RIVERO:    Yes, Your Honor.

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1                During the course of the closing argument, in our

2     notes and understanding of what he said, Mr. Freedman referred

3     to Dr. Wright's having fled from Australia.                            There was a ruling

4     by the Court during the course of this proceeding that that

5     evidence was excluded, and that statement violated the Court's

6     order.    I would ask for some curative on it, Your Honor,

7     whether it be an instruction or otherwise.

8                THE COURT:    Mr. Freedman?

9                MR. FREEDMAN:      First of all, Your Honor, the -- two

10    things.    One is Dr. Wright testified on the stand that he left

11    Australia and never returned.               I did not mention the warrant,

12    which was the subject of the Court's sustained objection.                               I

13    just repeated Dr. Wright's own testimony.                             Also -- okay.

14    That's my response, Your Honor.

15               THE COURT:    Mr. Rivero, what type of curative

16    instruction are you asking the Court to give the jury that

17    would serve the Defendant's --

18               MR. RIVERO:    Your Honor, I would have to design such a

19    request, and I'm glad to take it up.                      But I want to say just

20    one word:    Fleeing.    I was a federal prosecutor, Judge.                           One

21    flees when one is charged or convicted.                         That was the word that

22    was used purposely, and there was a specific ruling by this

23    Court it should not be permitted.

24              THE COURT:     Yes.       Well, what would you like the Court

25    to give by way of a curative?

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1               MR. RIVERO:    Your Honor, I would need -- perhaps I

2     could consult with my colleagues to come up with such a

3     suggestion, but I can't do it -- I don't have it right here in

4     my mind, Your Honor.

5               THE COURT:    So you don't want the Court to give it to

6     the jury right now when they return?

7               MR. RIVERO:    Your Honor, then if I can have one moment

8     I will talk to Ms. McGovern and come up with some language.

9               MR. FREEDMAN:      Your Honor, the only other thing I

10    would like to add is there was no contemporaneous objection to

11    the word --

12              MR. RIVERO:    I can't talk to Ms. McGovern and listen

13    to Mr. Freedman.    So if he has something to say ...

14              THE COURT:    Let me first hear what you're asking the

15    Court to instruct the jury.

16        (Pause in proceedings.)

17              MR. RIVERO:    Your Honor, the request we would have is

18    that:   "During closing counsel stated that Dr. Wright had fled

19    the jurisdiction of Australia.               There has been no evidence in

20    this case that Dr. Wright fled the jurisdiction of Australia."

21              THE COURT:    So you want the Court to highlight for the

22    jury that portion of the argument?

23              MR. RIVERO:    Actually, Judge, it is so prejudicial

24    that we do request it.

25              THE COURT:    And if it was so prejudicial, Mr. Rivero,

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1     why is it that the Defendant did not object?

2               MR. RIVERO:    Because I did not want, in the middle --

3     first of all, I haven't done it in 35 years in a closing

4     argument, Judge.    And -- which -- because I think it's a

5     tactical question at that moment.                  I don't believe this

6     argument was strong enough to merit any objections.                       And so I

7     wasn't going to show the jury that I believed so.

8               But it is, in fact, contrary to a specific ruling of

9     this Court by an officer of the court.                       And it is a statement

10    commenting on -- implying -- in fact saying directly under the

11    law that he left because of some criminal allegation.                       We do

12    need it cleared, Your Honor -- cured.

13              MR. FREEDMAN:      Your Honor, may I respond?

14              THE COURT:    Yes.       Certainly.

15              MR. FREEDMAN:      Again, the fact that Mr. Rivero has

16    made a practice of not objecting for 35 years doesn't alter the

17    Rules of Evidence.     There was no contemporaneous objection.

18    And second of all, I believe it's a fair commentary on the

19    evidence in this case that came in.                    Again, no warrant was

20    mentioned, which is where the objection was sustained.                        Dr.

21    Wright testified he left Australia and never returned.

22              THE COURT:    I agree.           The request for a curative

23    instruction would have required that an objection be made in

24    order to preserve it.

25              All right.    The request for a curative instruction is

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1     denied.

2               Let's bring in the jury.

3         (Before the Jury, 12:33 p.m.)

4               THE COURT:    All right.             Welcome back, Ladies and

5     Gentlemen.   Please be seated.

6               And as you did with Mr. Freedman, please give

7     Mr. Rivero your undivided attention.                     And we will continue --

8     or we will begin with the Defendant's closing argument.

9               MR. RIVERO:    May it please the Court.

10              THE COURT:    Yes.       Of course.

11              MR. RIVERO:    Counsel.            Good afternoon, Ladies and

12    Gentlemen of the Jury.

13              We have just listened for more than 70 minutes to the

14    very best assembly of evidence that these Plaintiffs could put

15    together after four years of litigation, after hundreds of

16    thousands of documents, after countless witnesses, not just the

17    ones who appeared in this trial, between interviews,

18    depositions, and now trial testimony.                      And that's what they

19    brought you.   That's what they brought you, Ladies and

20    Gentlemen.

21              I want to remind you that in opening Counsel Roche

22    told you that there were three time periods that were relevant.

23    There was this time period of 2008 to April of 2013 -- you'll

24    remember that is the death of David Kleiman -- 2013 to 2018,

25    and 2018 to today.     And he said they were going to focus on

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1    this time period.     And guess what, Ladies and Gentlemen?                       They

2    did it from day one until today.

3              And what is that time period?                       That is after the death

4    of David Kleiman, what I call AD.                   Extremely important.

5    Because what they never want to talk about, and what they never

6    talk about, is during David Kleiman's life.

7              Now, just here at the beginning, I want to hit this on

8    the head -- and by the way, there were strong things said.                           I

9    take umbrage at the suggestion that the Defense is a

10   continuation of the fraud.            That is not a proper statement in

11   this court.

12             Ladies and Gentlemen, here's what they gave you as

13   evidence after Dave's death, AD.                  This is the only evidence

14   they give you -- by the way, I'm going to correct this because

15   in that 70 minutes you heard exactly -- exactly one shred of

16   detail about during David's death.                     And I'll tell you what it

17   is.   It's Bob Radvanovsky.           But I'm going to deal with that in

18   the real case, in what -- the real events of what happened.

19             Now, what do they tell you about it?                        They have made a

20   case from day one to establish that Craig Wright is a damnable

21   liar.   That is the entire case that they have put on, the

22   statements between 2013 and 2018.                   In fact, in the first

23   opening they told you:        "Pay attention to what he said after

24   Dave died up to the lawsuit and what he said after the

25   lawsuit."

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1               All right.    That's their theory.                         He's a damnable

2    liar.    And they put evidence in front of you with an expert

3    that he's not just a damnable liar, he's a damnable forger.                               He

4    is a damnable forger.       That's the evidence they are putting in

5    front of you.

6               By the way, at the end, there will be no count for

7    lying.    There will be no count for forging.                          There will be no

8    count for cheating the ATO.             That won't be the counts that

9    you're going to look at.          In fact, I think you just saw them.

10   Those will not be the counts.

11              So Ladies and Gentlemen, they tell you this -- all of

12   this in this time period is a bunch of nasty, filthy lies and

13   invented documents.      It's just a heaping, stinking pile of lies

14   and forgeries from that man.

15             By the way, did you notice that every single statement

16   of fact in that 70 minutes you heard started:                            "Craig Wright

17   said.    Craig Wright said.         Craig Wright forged.                   Craig Wright

18   said"?    Okay.    That's their case, is that he's a liar and a

19   forger.   But Ladies and Gentlemen, I've been doing this for a

20   long time -- so he's a liar and he's a forger.                            I'm going to

21   add another word because I think this is where this question of

22   this diagnosis fits in.         Fantasist; is not right.                     We'll talk

23   about it.    I'm from another time when these conditions weren't

24   understood as well.      I'm trying to understand personally.

25   Fantasist.

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1               And so there it is.            It's a stinking pile.               But they

2    say:    "Wait a minute, Ladies and Gentlemen.                         Hold on.   Right

3    here, here's a cherry that I want to offer, and I want to put

4    it here."

5               By the way, this man -- by the way, they proved --

6    there's no doubt -- let's -- I'm not going to argue that he

7    said at some times black and at some times he said white in

8    front of you.      All right?       Black and white.                  But so there it

9    is.    It's a pile of black/sometimes white contradictions.                           They

10   say:    "Damnable liar, damnable forger."                       But wait a minute.

11   Here it says black.     Wait.         Here it says black.                Here it says

12   black.    Here's a bunch of cherries.                   Here's what I'm going to

13   do:    "I'm going to cook up those cherries into a cherry pie and

14   I'm going to tell you:        'This is what you should consume.                       This

15   is the story you should believe.                  This is the story that I put

16   together from this stuff that is all lies and forgeries'" --

17   and that's what you should believe actually happened?

18              Oh, Ladies and Gentlemen.                   Ladies and Gentlemen,

19   there's a basic fundamental thing.                     You know, I think this

20   description just now of the burden is not right.                          It's not

21   whether it comes back to even.                No.       They have to be -- they

22   have to have the better weight of the evidence.                          Does -- and it

23   has to make sense.

24              The Judge is going to instruct you -- or the Judge did

25   instruct you, pardon me.          First thing up she said you have to

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1    use your powers of reasoning and your common sense.                        Your

2    common sense.      You do not check that at the door in this

3    service.

4               By the way, people underestimate common sense.                       Common

5    sense doesn't mean in some way elite versus common, so it's

6    lesser.    Let's be real clear.             Common sense is the sense that

7    we share as human beings.           It is common to us.               It is not

8    inferior in any way.      Common sense.

9               If this set of cherries put together out of a pile of

10   lies doesn't make sense, you have to decide for the Defense.

11   That's just the way it is.            Because if it doesn't make sense,

12   they didn't meet their burden.

13              So Ladies and Gentlemen, here's what I'd like to do:

14   Having addressed the overarching question in this case -- and

15   by the way, the question:           Which is it -- the question I asked

16   just now:    Which is it, that's what I want you to ask them.

17   When he says it, and he's a liar, is it a lie or do you want me

18   to believe it?     When he forges it -- that's what they say --

19   when he forges a document, and it's from the wrong time period,

20   and they say a fake document, do you believe it or do you not

21   believe it?    Which is it, sir?

22              That's the question I want you -- because they'll have

23   a chance to come back.        That's what I want you to have in your

24   head because -- why do I make such a big point about this?

25   Every single shred of evidence they offered you in the closing,

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1    except for the reference to Bob Radvanovsky, every -- every

2    single reference is a statement of Craig Wright after David

3    Kleiman's death.

4               Now, let me take a moment of personal privilege,

5    Ladies and Gentlemen.       And I just spilled all my water here, so

6    I am going to take this cup and refill it.                            But I want to say

7    to you-all that I have been appearing before courts like you

8    for 35 years.      And -- I mean in courts like this and juries

9    like you for 35 years.        And I have great respect for what

10   you-all are doing and how you have come to sit here.

11              I remember the day right after Halloween that you-all

12   came here and you didn't know each other and you answered my

13   questions.    And you will remember that one of the first

14   things -- the first thing I said to you was that no matter how

15   long and complicated this case is, the subject matter of the

16   case is whether or not there was a partnership between David

17   Kleiman and Craig Wright to invent and mine Bitcoin.                            That's

18   the question.

19              The question is not whether Craig Wright is a forger.

20   The question is not whether Craig Wright is a liar.                            The

21   question is not whether Craig Wright cheated the ATO.                             Those

22   aren't on the Verdict Form.             The question at the end of the day

23   is whether there was a partnership to invent and mine Bitcoin.

24              Now, Ladies and Gentlemen, let me go back to your

25   service.    Judge Bloom said something that I really haven't

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1    heard said, but struck me.            Your service in our democracy and

2    in this system is -- I think Judge Bloom is right -- is second

3    only to military service.           There may be other equal ones.                   The

4    service as a district court judge, for example, is a very, very

5    important service in our system.                  But your service is not

6    inferior to anyone.

7               Judge Bloom told you you're the judges of facts.                          And

8    our system may have defects.              It certainly does.             But you know,

9    in our country cases about billions of dollars are settled by

10   decisions of members of the community with common sense like

11   you, whereas in other countries you know these problems are

12   settled with machine guns and machetes.                         So this is remarkable,

13   what you're doing.     And I appreciate it and I know everyone in

14   this courtroom appreciates it.

15              I want to say another word of personal privilege.                           I

16   have had a fantastic trial team.                  I can't name them all.           But I

17   want to say to you that I could not have better trial partners

18   than Amanda McGovern and Jorge Mestre.                        And I want to call out

19   my team.

20              And I just want to make sure that you also take into

21   account if at any moment -- I'm only an advocate and what I

22   say, the Judge has told you, does not decide the case.                           You

23   have to rely on your memory of the evidence.                          If at any moment,

24   Ladies and Gentlemen, I have offended in word or deed, tone or

25   tenor, it would not be right for you to hold that against Dr.

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1    Wright.   This has to stand -- this case -- remember that I

2    asked you at the end of voir dire in groups -- I remember

3    exactly where you-all were located -- if you could -- you-all

4    were located in those two sections -- if you could separate

5    your sympathies and your dislikes from making a decision on the

6    evidence.    And I asked that question directly to each you of

7    you, and that was a critical thing in the decision to have you

8    serve on this jury.     And so I'm going to ask you not to decide

9    on whether you have sympathy for the ending of David Kleiman,

10   which was, as I had told you, sad, or if you have a dislike,

11   even an intense one, for Dr. Wright or in any other direction.

12   That's not the question.          The question is the evidence.

13             So let me tell you how I want to break this

14   conversation down that I'm going to have with you.                         And let me

15   just, Ladies and Gentlemen, make sure that I keep track of my

16   time, if I can.

17             Here's how I want to break down my conversation with

18   you:   I want to talk first with you about the real evidence in

19   the case, not what you have just heard about.                         The real

20   evidence in this case.

21             There was a radio commentator when I was coming up

22   named Paul Harvey, had a great voice.                       And he would say:     "And

23   now for the rest of the story."                 I want to tell you the rest of

24   the story, which is the real story.                     Then, Ladies and

25   Gentlemen, because I don't want to avoid this central issue

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1    about the statements that Craig Wright made post -- after the

2    death of David Kleiman, AD -- I want to talk about those

3    statements.    Having addressed those, I then want to talk with

4    you about the issue of potential damages.                             And then at the end

5    I want to discuss with you what the Judge instructed you on the

6    law and how that law, given the evidence that we will now have

7    discussed, applies to the verdict.

8              So let me start, Ladies and Gentlemen, with the

9    question of what happened during David Kleiman's life.                              And

10   we'll start with -- and counsel made a prediction about what I

11   would talk with you -- he got a couple of points.                            This is not

12   spaghetti, by the way.        This is what happened.                      What --

13   spaghetti is taking one kind of evidence and stretching and

14   stretching -- and I don't know if you have ever seen a kid

15   doing this -- and what happens with a piece of spaghetti is it

16   breaks.   They're taking the statements of Craig Wright -- they

17   have one strand of spaghetti.               You can throw one strand.

18   That's not what his analogy was.                  They're taking a stand of

19   spaghetti and they're pulling it as far as they can right in

20   front of your eyes, but it snaps.                   We're going to talk about it

21   right now.

22             What happened during David Kleiman's life?                            Simple.

23   They admit it.     There's no evidence of a written agreement

24   between these men.     Absolutely none.                   There is no partnership

25   agreement written for sure.             So now we're in the territory of:

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1    Is there an oral agreement?             So how would you expect to see an

2    oral agreement?

3              Ladies and Gentlemen, you may remember in voir dire I

4    asked you if you had a relationship what would happen

5    naturally.    This is a lot of what I'm going to talk about, is

6    what would happen naturally if there were, in fact, this

7    relationship.      You know, my experience is that the truth has a

8    gravitational pull.      It's like a very powerful planet, a star.

9    And for the truth to be so, certain things have to follow from

10   it.

11             So what you would expect would be, for example,

12   communications between the two partners or multiple partners.

13   Because it doesn't make sense for a lot of reasons.                        Remember,

14   they tell you it is a two-person partnership for 1.1 million

15   Bitcoin based on Craig Wright's statements, except Craig Wright

16   says a lot of things.       Sometimes it's three people.                   Sometimes

17   it's 800,000.      Sometimes it's 300,000.                    We'll get back --

18   that's back to this other thing that if you build a building --

19   it's a house of cards.        If you build a building on what they

20   allege are lies and what they allege are forgeries, you're

21   building on quicksand, not even sand, and that will not stand.

22   And that does not make sense.               And if that does not make sense,

23   you have to vote for the Defense.

24             Let me going back to the writings between David

25   Kleiman and Craig Wright.           We didn't see anything ever --

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1    there's nothing, there's no email, there's no text message,

2    there's no anything during David Kleiman's life, anyone, Craig

3    Wright, David Kleiman, or anyone else -- there's not a single

4    writing.    Think about it, Ladies and Gentlemen.                          This is

5    critical, critical that you stay with me.                             I'm not talking

6    about the documents they say were forged.                             They say those were

7    forged in 2014 and 2015.          David Kleiman is dead.                    I'm talking

8    about during David Kleiman's his life, DD.                            There's not a

9    single communication between the partners or with anyone else

10   that says:    "We're partners."

11              On the other hand -- and Mr. Reed, if you have the --

12   I believe that there should be emails from David Kleiman

13   referring to Patrick Paige.             If you could show the jury.                   There

14   are two.    And while you look for that, I'll continue explaining

15   to the jury -- here it is.

16              On the other hand, David Kleiman never sent such an

17   email.   Could you bring out here -- could you highlight, sir --

18   I'll read it to you.      This is Dave Kleiman.                        No one challenges

19   the authenticity of this email in December of 2012.                             You never

20   see an email like this -- there's one.                        There's one about a

21   different subject.     But here it is.                  Dave Kleiman refers to

22   Patrick Paige as his business partner.

23              Now let's go to the next one, if you have it,

24   Mr. Reed.

25              This should be -- yep.               Can you pull this one up and

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1    can you show the jury.

2               Here's David Kleiman.               He's forwarding from Patrick

3    Paige.   By the way, just to get the sense of what's going on is

4    Dave Kleiman is very sick at this time period and he is

5    shifting his work to his real partners.                          He has a real business

6    called Computer Forensics, LLC, has all the trappings and marks

7    of a business, which -- the non-business?                              They're talking

8    about he has none?

9               And what happens?           He says:            "Hi, Katy.        Received your

10   voice email.       I'm unavailable today.                  My business partner

11   Patrick Paige" -- and then what you would expect is Katy writes

12   back:    "In a meeting.      I will call your partner as soon as I

13   get in."

14              Now, I'm going to show you, in fact there's another

15   partnership.       It's a little bit out of order of what I was

16   going to discuss with you.             When, in 2012, they go to talk

17   about W&K, Craig Wright uses real time the word:                             "How about a

18   partnership?"       Now, just think about that.                        If they were

19   supposedly in a partnership since 2009 to invent Bitcoin, and

20   they were supposedly mining up all these Bitcoin, a million

21   Bitcoin, how come for the first time Craig Wright's saying:

22   "How about a partnership" -- I don't know if we can show that.

23   I don't know if you can find it now.                       How come he -- there's a

24   communication where the word "partnership" is used, but it's

25   not till February of 2011.

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1               Look.     Here's Craig Wright.                  Nobody challenges this

2    email.   This is in life, during Dave, DD.                             And they say I have

3    nothing to show you?       Talk about laughable.                        Talk about absurd.

4    But look:    "We could do something in partnership."                            But that's

5    in 2011.    If they already had a partnership -- what you're

6    going to remember, there supposedly is this oral agreement

7    before W&K.      Why aren't they saying:                   "Why don't we add to our

8    partnership?"      If you had a business going, you would say:

9    "You know, we already do one line of business.                             We already do

10   maintenance work at hotels.              Let's do maintenance work at

11   restaurants."      Okay?   You would say:                  "Let's add to."

12              No.     This is the only reference in this entire time

13   period during Dave's life, DD, of such a thing.

14              Now, let me keep moving because I have a lot to show

15   you.   Contrary to what they have suggested, I have a lot to

16   show you.

17              Now, here's another thing:                    No agreement.          You know

18   there's no agreement as to this supposed partnership.                               But

19   David Kleiman had another business called Computer Forensics,

20   LLC.   I'm sure you remember that.                   So if we could show,

21   Mr. Reed -- as you'll remember -- if we could show that

22   operating agreement which is attached to Defendant's 5, the

23   lawsuit by Ira Kleiman against David Kleiman's other best

24   friends Carter Conrad -- you want to talk about greed?                               You

25   want to talk about somebody who's looking for a treasure?                                 He

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1    sued the best friends.        He hasn't sued Kimon yet.                   You want to

2    talk -- they talk about greed.

3              So here's the lawsuit and here's the attachment.                           And

4    you're going to remember that in the attachment -- Mr. Mestre

5    was asking Carter Conrad -- Carter Conrad said:                         "It was my

6    idea."   There's no doubt about that.                     But David Kleiman clearly

7    very much participated in making that -- and you're going to

8    remember -- there's emails I'll show you in a second -- where

9    Dave Kleiman says:     "Hey, let's use my accountant," and he

10   brings the accountant David Kuharcik to the party.

11             And you're going to remember in looking at this

12   agreement it tells you the names of the members.                         It tells you

13   who is the managing member.             It's all there.               It's Defendant's

14   5, the first attachment.          It's in here.                 It tells you the

15   percentage of ownership in writing.                     It tells you the

16   revenue -- how you pay for the expenses, what happens with the

17   expenses.    And then what's left over, the net, the net profit,

18   it tells you how you split that.                  It tells you what the

19   ownership of IP is in this company in writing.                         That's how

20   David Kleiman arranged his affairs.

21             And it's not just that they did it in writing.                          It's

22   also that there are then later writings.                          Like, for example --

23   if you can show the next email.                 This is relating to his real

24   business Computer Forensics, LLC, which was treated like a real

25   business, not a fantasy business, the real thing.

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1              If we can see the next email, Mr. Reed.

2              Okay.      So here's David Kleiman to David Kuharcik.                             You

3    saw David Kuharcik.       "What would your annual fees be for doing

4    the taxes for a newly formed Florida LLC that has three

5    partners?"    By the way, this has multiple things about it.

6    It's not just that you see how David Kleiman actually would

7    work a real business.          Pretty naturally, he would communicate

8    with others about the real business, and he says:                               "The

9    business has three partners."                  That's what you should expect to

10   see about a business.

11             Certainly:      "Currently, the partners being are paid

12   1099 style with an 80-20 split," and then he goes on.

13             Are there attachments, Mr. Reed?                               Could you show that

14   to the jury.       Just scroll down, if you can.

15             And if you can't, I'll keep going.

16             Okay.      Yeah.     One more page.

17             Yeah, look.        Guess what Computer Forensics has?                          Has a

18   profit and loss statement like a regular business, prepared by

19   a bookkeeper.       Written -- businesses by their nature,

20   especially nowadays, leave fingerprints.                             They leave evidence

21   of their existence.       And how come there's no evidence of the

22   existence of W&K?       Oh, it's the secret phone booth.                           We'll get

23   to that too.       It's a secret -- talk about convenient

24   explanations.       There's a secret phone booth.                          These gentlemen

25   step in there, Clark Kent and Bruce Wayne, and they become

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1    Superman and Batman.      Tell me another story.

2               Let's keep looking at what happens.                        I think -- now

3    let's go to another subject.              You've got a business and you

4    have a treasure.     Now they want to say that it's not on these

5    devices.    That's not the point.               Which is it?          That's not the

6    point.    I don't know that it's on these devices.                       I know that

7    if Dave Kleiman, who was a computer forensics person, did

8    something, and he had one of these military specification

9    things that's built to survive down to -- now I'm going to

10   forget, but it's 600 feet that you would have to take a

11   submarine, and made out of aircraft quality aluminum -- if he

12   had something important that he kept on his key chain or his

13   body all the time -- former military, former police, all this

14   stuff -- something would have been here.                          We're going to talk

15   about that in a minute.

16              But before we get there, before we talk about devices,

17   let's talk about in the law it's called devises, when you

18   devise.    So if he had a fortune, I don't care if it was shared,

19   in a trust, wherever it was, he had a fortune -- and we'll get

20   to the economics of it -- that doesn't make sense.                          But just

21   think about it.     You have a fortune.                   You care about somebody

22   in the world.      He had an old will.                 How come he never changed

23   the will to address this fortune that was -- that story --

24   again, these stories never -- they don't make sense.                          That's

25   why you have to decide for the Defense.                         They don't make sense.

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1               It's not about whether there was a secret.                           You're not

2    going to keep it so secret that if you die and you know for the

3    last 900 days of your life before you check yourself out of the

4    VA hospital -- you-all have loved ones.                         You know you have a

5    presence of death.     And you know that you have a fortune.

6    You're not going to try to get that to whoever it is that you

7    want?    In the movies, even the pirates mark a map with an X.

8    Come on.    It doesn't make sense.                That's why you should decide

9    for the Defense.

10              Ladies and Gentlemen, I want to talk with you here in

11   my documents that I have destroyed -- I'm not as high-tech as

12   the other side.     I want to talk with you about the devices.

13   And I think this is pretty straightforward.                            The devices were

14   reviewed up and down, backwards and forwards.                            We have them

15   here.    So there's two things to say about this.                          Number one, if

16   this man, who was a computer guy -- certainly if it's their

17   house of cards story that he was an inventor of Bitcoin,

18   really?    He didn't have anything on any of these devices?

19   There's nothing.

20              But there's another story about these devices.                            You

21   know who made a choice?         When Dave Kleiman died, it wasn't just

22   these devices -- by the way, these aren't the -- the devices

23   are in a backpack somewhere in his house.                             Somewhere in his

24   house.    They're not here.         This is examples.                   Those are

25   somewhere else.     He had a choice.                His brother had just died.

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1    He went in -- his brother supposedly -- the last time he saw

2    him in life, his brother said:                "I'm doing something bigger

3    than Facebook."      And what did he do?                  He went, and there's

4    papers there, and he says he threw them all out?

5               Now, when he was asked about it -- you're going to

6    remember this.      I asked him about it.                   And I asked him:         "Did

7    you see work papers," because if you're going to do this kind

8    of invention there would be work papers.                          He didn't see

9    anything like that.      "Did you see research papers?"                         Didn't see

10   anything like that.      "Did you see anything that looked like a

11   long string of numbers and letters that would be the keys,"

12   right?    Didn't see anything like that.

13              And then what does he do?                   He takes the evidence

14   that -- I would argue to you this is the natural place to find

15   the treasure.      I'm not saying it's there.                         Because Ladies and

16   Gentlemen, which is it?         What I believe is that Dave Kleiman

17   didn't do this.      And I'm going to show you why.                        So it's not

18   there.    But if it were there, it would be here.                          If he had it,

19   it would be here.

20              What does he do?         It's on the notations.                   I don't have

21   to remind you.      He takes one of these and he writes over it and

22   puts Windows 7 on it.       And he takes the other one and puts

23   Windows 8 on it.      And he takes one to power up a laptop for his

24   wife.    He says he puts family photos on it and he overwrites

25   it.   And it is ironic that David Kleiman and Craig Wright did

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1    work on a paper in 2008 that is a really significant paper,

2    that Dave Kleiman was proud of and bragged about to Carter

3    Conrad and others, the Data Wipe Fallacy paper.                           And that

4    principle that they established -- because I have to tell you,

5    regardless of how we may feel about Dr. Wright, he really is

6    established in this area.           And I'm not saying that Dave Kleiman

7    wasn't.

8              There was a debate about whether if you only overwrote

9    one of these things one time -- some people said that wasn't

10   enough, you had to do multiple overwrites.                            And they called

11   that the Data Wipe Fallacy.             They said -- what they posited as

12   computer scientists was that you should overwrite it one time

13   and that would do it enough.

14             Ira Kleiman didn't leave it at one time.                          He used

15   these devices -- and can we have the demonstrative from

16   Mr. Madura?

17             He overwrote these devices, you remember -- you

18   remember, Ladies and Gentlemen?                 Look at the overwrites.

19   Thirteen out of the 14 devices he overwrote in 2013, in 2014,

20   in '15, in '16, in '17.         The lawsuit gets filed.                    He writes

21   over it in '18, when there's an obligation to preserve

22   evidence.    It sounds like perhaps he didn't want to see or

23   didn't want anyone to see what was on these devices.                            It sounds

24   like that.    I can't prove it to you.                    But to consistently

25   continue to overwrite it and then deny it on the stand -- and

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1    then Mr. Madura's expert testimony was -- I'm sorry -- it was

2    Mr. Chambers.      I apologize.         I'm misstating the witnesses.                It

3    was Chambers who told you, and they showed each of these that

4    was overwritten.

5               Now, the data encryption.                   It may be there's nothing

6    there.   But whatever it is, and if it was very valuable, a

7    computer security expert might have done that.                        That's our

8    point.

9               Let me speed up a little bit because I have too much

10   to cover and not, as it turns out, enough time.                        I would like

11   to go to the witnesses.         And I want to go quickly through the

12   witnesses because I want to -- this is all the evidence during

13   Kleiman's life.     My point is the devices are during David

14   Kleiman's life.     The lack of a partnership agreement, the lack

15   of communication, that's during David Kleiman's life.

16              Let's show, please, Mr. Reed, in whatever order you

17   have, the witnesses who have testified about the question of

18   what was said during David Kleiman's life about whether there

19   was a partnership to mine -- invent and mine Bitcoin.                          If you

20   could pull the first one up, whichever it is.                         And I need to

21   know -- that's Kimon.

22              So here you go.        Kimon, one of Dave Kleiman's closest

23   friends.   I would -- I don't want to make -- it's hard to say,

24   but this may be his closest friend.                     "During his lifetime --

25   during Dave Kleiman's lifetime, the entire time that you knew

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1    him, did he ever tell you that he was working on Bitcoin?"

2              "No."

3              "During his lifetime, did David Kleiman ever tell you

4    he was mining Bitcoin?"

5              "No."

6              You can read it.

7              "Did he ever tell you" -- we can highlight -- "Did he

8    ever tell you that he formed a business partnership with Craig

9    Wright to either mine or invent Bitcoin?"

10             "No."

11             "Did he ever tell you that he had hundreds of millions

12   of dollars in Bitcoin?"

13             That's in this trial.               You heard it.

14             Let's go to -- if you have Patrick Paige, that would

15   be great -- or Carter Conrad, whoever you have.

16             Okay.    So this would be Carter Conrad.

17             "Did you ever hear Dave Kleiman call it a Data White

18   [sic] Fallacy paper" -- that's "wipe."

19             "We're going back many, many years, so I don't know,

20   but when we discussed it, we believed that it would be" --

21   okay.   That's -- Mr. Reed, if we could show the next clip.

22             Ladies and Gentlemen, while we're waiting for these to

23   be pulled up, the point is I have -- and hopefully we'll put it

24   in order.    I can show you that -- and you'll remember this --

25   every single witness who came before you -- let's put the

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1    people who were with Dave Kleiman.                      Here is -- I believe this

2    is Paige.

3              "So during Dave Kleiman's lifetime, despite all the

4    conversations that you had with him, he never told you that he

5    had Bitcoin?"

6              "Right."

7              "In fact, during his lifetime, he didn't mention

8    Bitcoin at all to you?"

9              "No, he never did."

10             "And during his lifetime, he never told you that he

11   mined Bitcoin?"

12             "Right."

13             Go ahead and show the next one, if you would.

14             Is this the next one, sir?

15             No.      That's still Paige.

16             "So during Dave's lifetime, he never said to you that

17   he had a business partnership with Dr. Wright to invent or mine

18   Bitcoin?"

19             And his answer was:              "No."

20             So we can keep going.                Keep showing them.           Mr. Reed,

21   just put them up as you're able to and I'll talk about them as

22   we go.   I want to distinguish them.

23             Then there are people that we called.                        We brought you

24   Carter Conrad.      We brought you Kimon Andreou.                      We brought you

25   David Kuharcik.      I was surprised they brought you Patrick

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1    Paige, but we would have.           And then we also brought Don Lynam

2    and Lynn Wright by video.           You saw them.                 The four witnesses

3    related to Kleiman all say they never heard of Bitcoin, mining,

4    anything else.

5              You just saw, though, that Carter Conrad did tell you

6    that David was very proud to talk about his work with Craig

7    Wright, about the Data Wipe Fallacy paper.                            So it's not that he

8    was hiding his relationship with Craig Wright.                           It's that he

9    was describing his relationship with Craig Wright.                            And his

10   relationship with Craig Wright wasn't related to Bitcoin.                              It

11   was related to other things.

12             Which one do you have up now, Mr. Reed?

13             This is Conrad.         "During his lifetime, did he ever say

14   he had a partnership to mine or invent Bitcoin with

15   Dr. Wright?"

16             "No."

17             "During his lifetime, did David Kleiman ever say that

18   he mined Bitcoin?"

19             "No."

20             This is all from the trial.                     And you saw it.         I'm only

21   doing it to refresh your recollection.                        Because if we look at

22   Don Lynam -- and just keep going, Mr. Reed.                           Show whoever you

23   have.

24             And this is to Kuharcik.                  "Do either of these tax

25   returns" -- these are Dave Kleiman's personal tax returns --

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1    "Do they make reference to Bitcoin?"

2               "No."

3               Next one, Mr. Reed.

4               This is the people related to Kleiman.

5               All right.    Okay.         I'm sorry.              We won't we be able to

6    wait for these to show, but I can take you through each

7    witness.

8               No.     This is another subject.                    Let's put that aside.

9               All right.    Ladies and Gentlemen, now that's the

10   witnesses.    There's not a single witness -- when they tell you

11   that witnesses said that there was a partnership, please

12   remember -- this is so critical -- even Jamie Wilson.                              What

13   they are saying is that Jamie Wilson heard from Craig Wright

14   later.   "Craig Wright says."              That's what Jamie Wilson says.

15   Jamie Wilson never talked to Dave Kleiman.                             None of the

16   witnesses that they're talking about talked to Dave Kleiman.

17   Radvanovsky is the only exception.                      You can go back and look at

18   your notes.      This is just what it is.

19              And I wish we could show you.                       I would show you right

20   now if I could get this on the screen.                         It is a little bit

21   frustrating between spilling the water and not being able to

22   show you on the screen, but we'll keep going like in the old

23   days.

24              I want to switch to another topic because we've now

25   gone through lack of documentation on a deal, lack of

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1    communications about a deal, lack of a will other message about

2    treasure.

3               Now, we talked about the fact that witnesses don't

4    talk about it, other than people reporting what Craig Wright

5    says AD.    I need to keep making that distinction.                        I'm going to

6    come back to AD.     And if I remember it was:                        "I don't have

7    anything to say."     During David's life the evidence is

8    completely inconsistent with this story.

9               Now, let's go to the ticktock and let's see if we can

10   show you.    What I want to discuss with you now is there are

11   actual communications.        And I call this the ticktock, Ladies

12   and Gentlemen, because some -- Mr. Mestre's daughters showed me

13   what TikTok is.     But this is the back-and-forth, the

14   back-and-forth.     It's -- you might call it a timeline, but I

15   like the idea -- it's Mr. Kleiman says something and then Mr.

16   Wright says something, ticktock, ticktock, like a clock.

17   Right?

18              So let's look at the first one, Mr. Reed.

19              Oh, I'll show you first -- you've seen this

20   demonstrative, but I think it's quite good.                           And this actually

21   illustrates -- as I go through, I'll try to make some other

22   points.    On March 12th, 2008, this is where the Plaintiffs

23   start the case.     They don't want to talk about it anymore.

24   There are things they want you to forget and wipe out because

25   they're cherrypicking.        They are cherrypicking.

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1              Initially, in the opening statement, they told you

2    this whole thing started on March 12th, 2008.                           And it was this

3    email that you're seeing.           It's Plaintiffs' 2.                  It's marked by

4    the Plaintiffs.     And that one is the one where supposedly Craig

5    Wright invites David Kleiman to the party.                            And it's in their

6    complaint.    I showed it to you multiple times.                         It's in their

7    complaint, which unfortunately didn't go into evidence.

8              But in their complaint, the way that they make the --

9    they start the story is -- this is the first quicksand pit that

10   they get themselves into.           They want to use the March 12 -- I'm

11   going to show you right now.              First of all, let me just come

12   back because we're going to show the back-and-forth, but I want

13   to take this right now.         Because this is one of -- I believe

14   it's four pieces of information, at all, that they talk about

15   during David's life.      Everything else is AD from Craig Wright,

16   all of their evidence.

17             You cannot -- it makes no -- it makes no sense to rely

18   on those statements to make this case.                        And if it doesn't make

19   sense, the verdict ought to be for the Defense.

20             Ladies and Gentlemen, here's -- what's wrong with

21   this?   If we can open it up, Mr. Reed.

22             Can you please open it up?

23             Yeah.

24             All right.    I thought you were looking at it.                          Sorry,

25   Ladies and Gentlemen.

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1               This is supposedly from Craig Wright to Dave Kleiman

2    on March 12.       It's the invitation.                 "I need your help editing a

3    paper I'm going to release later this year.                            I've been working

4    on a new form of electric money bit cash, Bitcoin."

5               You remember that we had Wright's testimony that

6    rcjbr.org is Ramona, Craig, Josh, Benjamin, Rachel.                            That's the

7    family unit formed after Dr. Wright gets together with his wife

8    Ramona Watts in 2012.        But the -- do you notice -- and there's

9    other problems with this.            The create date is later.                  There's

10   other problems with this.            But understand when I say:

11   "Cherrypicking," I'm not saying that to be mean or making it

12   up.   That's not the point.            The point is what the Plaintiffs

13   have done here -- and you've heard it from Edman -- is these

14   counsel -- there were hundreds of thousand of documents.                             These

15   counsel chose a set.       We couldn't get it clear whether it was

16   35, 40, 45 documents.        They gave those documents to Edman.                        And

17   every single one he found was, he told you, forged.                            But

18   remember he says that means modified, et cetera.                           Because he

19   can't tell you for sure it was Dr. Wright, but it's consistent

20   with Dr. Wright.      That's what he's talking about.

21              But the point is they don't want to talk about this

22   anymore.    They want you to forget -- they want this to go into

23   the amnesia pile so you never remember about it again.                             This is

24   BS.   And I'm going to show you why.                     Not just because the date

25   is wrong.    Watch.    What happens?

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1               If you're going to this revolutionary

2    world-changing -- you just heard it from Plaintiffs' counsel --

3    revolutionary world-changing invention that ends up being worth

4    not millions, not billions, trillions of dollars -- what's the

5    next thing they say?      Where's the:                 "Hey, yeah.     Let's do it"?

6               Can we show that, Mr. Reed?

7               The next one.

8               Can we blow that up.

9               Okay.   This is not the very next day.                     In fact, there

10   are several emails in between where they're talking about

11   whether they're going to meet.                And here's -- within two weeks:

12   "Hi, Dave.    It looks like a while longer before I get to meet

13   you in person.     I came runner's up and thus shall not be over

14   there again soon."     "Runner's up" must be some Australian thing

15   for:   "I had a problem."

16              Ladies and Gentlemen, you're in the middle of this

17   revolutionary thing -- show the next email, Mr. Reed, while I'm

18   explaining -- you're in the middle of the revolutionary process

19   and you're not talking about it?

20              Let's see the next one.

21              Look at this, April 9.               That's less than a month

22   later.   "Craig" -- here it is.               "Craig, how are you?"            It

23   doesn't sound like they've even been talking.                         Secret phone

24   booth?   Secret phone booth?            In this time period, they're not

25   talking.    There's no secret phone booth.

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1              Do you think -- is the story going to be -- because,

2    maybe if you listen to counsel -- ask him.                            Ask him in your

3    mind, as he's talking -- ask him:                   Which is it?          Is it a lie,

4    is it a forgery, or is it the truth?

5              So let's -- this one, nobody says is unauthentic.

6    There's the secret phone booth?                 So did they make this up to

7    make it look like they really weren't talking, while secretly

8    in the phone booth they are talking?                      Come on, Ladies and

9    Gentlemen.    That doesn't make any sense.                        And if it doesn't

10   make any sense, you really have to decide for the Defense.                              You

11   really do.

12             So what does he say?              "How are you?"

13             "I've been laid up for a bit."                        And then he says:

14   "I've not worked in about 10 days, so I have a lot of catching

15   up to do" -- go to the next one, Mr. Reed, so I can explain --

16   because Dave Kleiman is very, very ill, Ladies and Gentlemen.

17   He doesn't work.     This is the one-month period right after the

18   invitation.    He can't even work.                He's been laid up.

19             Now, here's April 16.               Mark Heighenbaum (phonetic

20   listing) is from this organization called (ISC)2.                           You have

21   this all in the evidence, and I ask you please to look at the

22   chronological order of documents from March 12th all the way

23   through Halloween 2008.         And this case lends itself, for some

24   reason, conveniently for a way that we can remember when things

25   happen.   It was Halloween of 2008.                    And look at the emails.

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1              And here's what you're going to see.                          So now

2    Heighenbaum says:     "Just wanted to follow up with you on our

3    invitation to write the law chapter for the ISSMP textbook."

4              Can we show the next email.

5              And here's what Dave Kleiman says on 4/22 to Craig

6    Wright.   Says:    "Craig, I know you have a bazillion initials

7    after your name.     Cannot remember if CISSP, ISSMP are among

8    them.   If so, do you have any interest in writing this?                            You

9    will be writing for (ISC)2 and their new official guide.                             I've

10   not been doing well lately.             And I am not going to be able to

11   fulfill the requirements."

12             Next one.

13             Here's the point, Ladies and Gentlemen:                          Come on.

14   It's right there in the real history of what really happened,

15   during the real time period.              He's not able to do things.                  He

16   can't be inventing the revolutionary, world-changing thing

17   because he can't even work on the law chapter of this thing.

18             So here's what -- and then when Wright says:                            "Yeah,

19   I'll do it," he writes to Heighenbaum -- Kleiman does -- "I do

20   apologize.    I've had some physical problems arise and have

21   sporadically been checking my email.                      Sadly, I do not think I

22   will be able to participate in the project.                           I'm taking this

23   time to introduce Dr. Craig Wright to you.                            Here's a summary of

24   Craig's qualifications."

25             And just -- Mr. Reed, if you can just show all that

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1    long list.    By the way, just in case there's any doubt -- I

2    don't think you do have a doubt -- is Wright's qualifications.

3    I'm going to talk about this in a second.                             Because whatever you

4    think of Wright, again, that he had the ability, the capacity,

5    the experience to create this, I don't think anybody can

6    dispute that.

7              Mr. Reed, if you can go to the next email.

8              But my point is they're trying to -- they're doing

9    things, but not -- so here's April 23.                        That's now 40 days out.

10   "Hi, Dave.    Just on a different note, if you hear of anything

11   in the US or Canada at my level, could you let me know?"                              No

12   mention of:    "While we're working on the radical,

13   world-changing project."

14             Next email, sir.

15             All of it is consistent.                  Here's Dave Kleiman.             This

16   is just qualifications again.               Let's go to the next one.                 He's

17   just -- Dave Kleiman had -- truly had respect and admiration

18   for Craig Wright.

19             Look at this.       Look at this, Ladies and Gentlemen.

20   June 3.   June 3 is almost three months after the purported

21   invitation email that supposedly kicks this whole thing off.

22   Remember, their theory is Dave Kleiman's in here coinventing,

23   cocreating, right?     And what does Dave Kleiman say to Craig

24   Wright on June 3rd?     "Speaking of plagiarizing" -- they're

25   talking about academic issues, about whether someone

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1    plagiarized, et cetera -- "Maybe we could write a paper

2    together.    I think it would be fun to write something

3    together."    And by the way, very deprecating.                           You could see

4    his charm.    "The world of digital forensics by Dr. Craig Wright

5    and some dude named Dave."             His personality comes through even

6    in the documents and he seems like he was a -- I would like to

7    have met him.      But that's not my point.

8              My point is:       "Maybe we could write a paper together"?

9    How about:    "Hey, since we're already writing a paper together,

10   maybe we could write another paper together"?                             Does that -- how

11   does this make sense?        It doesn't make sense.                       And it may get

12   repetitious to you, but that goes for the Defense.

13             Let's go to the next one, Mr. Reed.

14             Okay.     This is maybe the most important part of this

15   entire thing that I'm showing you.                      Craig Wright writes to a

16   fellow named Shyaam, and he copies Dave Kleiman.                             And he says:

17   "Hi, Dave.    Shyaam is going to be helping me in the writing of

18   the paper of the Drive Wipe Fallacy" -- I think I called it the

19   Data Wipe Fallacy -- "Drive Wipe Fallacy.                              Paper submission

20   date is July 19th, 2008.           All that is needed is to turn the

21   data into a paper.      Dave, are you interested?"

22             So this is how people work together for real.                              This is

23   how, when they're really doing something -- please show the

24   next one -- there's a date.              There's a topic.                 They talk about

25   it in email.       And they don't say:               "Another paper."            They don't

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1    say:    "An additional paper.           We're already working on a big

2    one."

3               Then here's -- can we go to the next one.

4               This is July 16th.           The deadline is coming up fast.

5    And Craig Wright writes to Dave Kleiman.                          This is about the

6    data wipe paper.     It's the thing that I told you about where it

7    proves that overwriting a disk more than once will -- is not

8    necessary.    It can be done once.                "Hi.        Just wanted to see if

9    you have made any headway."             Again, it doesn't sound like --

10   because they're not in daily contact.                       Between June 3rd and

11   July 16th, Craig just expects Dave's going to do what he said

12   he would do and now he's checking in.                       It's due like July 17.

13              What happens next?           "Not too much."               This is Dave

14   Kleiman.    "Not too much.        Attached what I started on so far.

15   Tracked changes are on."

16              Next.

17              Then so -- Wright answers to that and says:                        "We are

18   in a little luck.     So as late as Saturday night, Sunday night,

19   as long as we get a draft up on the 19th, we can update it

20   until the 21st.     If you can get me something on Sunday, I can

21   get it done for Monday."          That's how people really work

22   together on a paper.

23              Show the next one, Mr. Reed.

24              And in fact, Dave Kleiman had a lot going on.                         He had

25   his real business going on.             He was sick and he wasn't getting

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1    to it.    And so Wright is extending a deadline.                         And then what

2    happens, just so you know, in between is they submit it.                             It's

3    in all the documents.       They talk about it.                       And then finally a

4    couple months later it gets approved.                       And guess what?        There's

5    a congratulations, like people do.                     Academics?        What do they

6    have?    They are computer scientists.                    This is their life.

7    "Congratulations and thanks for the effort," from Dave -- to

8    Shyaam and Dave Kleiman.          "Our paper."                That's the paper

9    they're working on in this time period, not the whitepaper.

10              Let's see what Kleiman responds.

11              Okay.   By the way, if you look in that one, you're

12   going to see what Kleiman says.                 "Hey.         Tell me anything you

13   need and I'll help."      It's on the same -- on the data wipe.

14              Now, here's -- and you can look at it all.                          Here's the

15   next communication.     And look at what's going on.                        They're not

16   talking about the Bitcoin Whitepaper coming out in two weeks.

17   Dave is saying -- can we make that bigger, Mr. Reed -- dave is

18   saying:    "I apologize" -- this is on domains.                         Has nothing to

19   do with anything.     But this is what they're talking about.                           He

20   says:    "I apologize for being a hold-up on my portion of this.

21   No excuse.    I forgot my accountant filed an extension for me on

22   taxes.    I've been working on that nonstop until the wee hours

23   of the morning.     I will not be working tomorrow or Tuesday.                           I

24   will get it to you ASAP."

25              Next, Mr. -- that's what they're -- this man is doing

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1    other things.       He can't get to his domains, much less work on a

2    whitepaper.    There's no more.              There's never, ever an email

3    where these two men say the word "Bitcoin" ever, except for the

4    March 12 that they don't want to talk -- they brought it up

5    initially.    They don't want to talk about it anymore because it

6    doesn't fit.       It doesn't make sense, which means that our

7    version is it's -- you should decide for the Defense.

8              Now, can we show -- let's see what happens.                      Can we go

9    to the next one, please, Mr. Reed.

10             Now, I'm going to just show some random ones.                       You

11   have all this in evidence.             June 3rd or the days after,

12   Antonopoulos and Madura told you when the system goes

13   operational.       A lot of debugging had to be done.                  This is a big

14   deal.   What do they talk about?                 "I really do hope you had a

15   great holiday season.        You and your wife deserve some downtime.

16   Take it while you can."          This is the mundane things they're

17   talking about.       They haven't even talked during the holidays.

18   It's the 6th, which in some cultures is Three Kings Day.                        It's

19   the end of the holidays.           But the holidays go back at least

20   two, three weeks before this.                They're not in touch.         And the

21   system was released and made operational.

22             Next, Mr. Reed, please.

23             It doesn't fit.          It doesn't make sense.

24             Could we see the next one, please.

25             Well, listen, here's what I'll do, though, because I

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1    don't want to consume my time because it's there.                             So I'm going

2    to tell you what this -- if you look at it, there's a next time

3    period.   And maybe we'll get to the next one in a minute, if

4    Mr. Reed will help me out.

5              What happens -- this is another time period around the

6    formation of W&K.       And there Wright -- Lynn Wright, Craig

7    Wright, and David Kleiman -- you can look at the emails -- they

8    exchange emails a bunch, in a flurry about:                             "Should we

9    register it?" "Wait a minute.                We're going to do this for the

10   DHS because you're a vet and you're disabled and we could get

11   some advantage with you doing that.                      Can you form a

12   corporation?"       "What kind of corporation?"

13             Do we have any more emails to show?                            Can we show the

14   next one?

15             No?

16             Okay.      "Is it an LLC?" "What should the name be?" "W&K

17   Info Defense."       The three of them are talking about it.                          And

18   they finally come up with it and they form the corporation.

19   And in there -- let me see, which one this is.

20             Yeah.      This email comes up.

21             This is the only time at all, DD, during Dave Kleiman

22   life, that these two men use the word "partnership."                                And he

23   says:   "On the other hand, we could do something in

24   partnership.       Are you interested being the lead if I'm to put

25   in the funding for research?"                That's it.                That's it.

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1               And you saw -- can we show -- do we have any of the

2    documents related to W&K?           You saw that what W&K did -- I'm not

3    talking about Craig Wright's statements later.                        I'm going to

4    talk about that in a minute.              I'm talking about the reality of

5    what happened at that time.             You saw that there were these DHS

6    requests for proposal.        We call them RFPs in the United States.

7    The Australians call them tenders.                     That's what they were doing

8    in W&K.

9               And it was Plaintiffs who asked DHS -- this fits

10   together.    Kleiman was a disabled veteran who was in the United

11   States.    And there are government preferences for disabled

12   veterans and they wanted to put in Wright's research and see if

13   they could win some of these RFPs, these proposals.                        And I seem

14   to remember it was registration TTA.

15              Could we show the whole document.

16              You see, this is the lead for -- this is -- the first

17   has to do with the attached papers TTA 1, whitepaper title.

18   Kleiman says:      "Last page of attached.                    Do you think I can list

19   you as manager or MGRM with a foreign address or do you think

20   they would kick it?"

21              By the way, I'm not doubting Carter Conrad's word that

22   he was the one who came up with the idea to document Computer

23   Forensics, but there you see Dave Kleiman's deep into the

24   details.    "Who is the member?             Who is the managing member?"

25   And they go on.

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1               Let's go to the next one, Mr. Reed.

2               So the point is, if you remember from memory, they

3    asked DHS for -- here's one of the ideas that he has, an idea

4    for research on this same area.                  Notice it's information

5    defense.    "Stop attackers from jumping into industrial control

6    systems."    It's these security issues.

7               Show the next one, if you can, Mr. Reed.

8               So I'll just do it from memory.                         You'll remember that

9    there was a request to DHS and then DHS produces it to the

10   Plaintiffs and we brought it to trial.                         DHS says:   "We're not

11   interested."       And there were a bunch of them, TTA 01, TTA 03,

12   TTA 05.    I asked Mr. Kleiman about all this and they got

13   rejected on all of these requests.                      They put in the research,

14   but it didn't work.

15              That's the only business that we see for W&K during

16   David Kleiman's life.        And Lynn Wright also testified about

17   this.   Lynn Wright said that was the purpose of W&K and that

18   that's what it did.

19              Now, see, this is interesting.                        Now he does say -- I

20   guess there are two places -- "The three of us should be able

21   to do something good as a partnership."                          So there's the place

22   where they're talking about it, but they're talking about W&K.

23   And this is very important reasoning, right, and logic and

24   common sense.      You can't bootstrap into W&K -- I'm talking

25   about what happened during his life.                       We'll talk about the

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1    Craig Wright statements later.                But what they're trying to say

2    is Craig Wright said these things later; therefore, that means

3    this is what W&K did.       But during the time the only thing you

4    see W&K doing -- the only thing you see W&K doing is these TTA

5    01, 02, whatever these numbers are.

6               The next one, please, sir.

7               Okay.   This is going to be -- you can see -- look over

8    the attached real quick.          You see TTA 1.

9               Let's go to the next one.                   It would show you -- if you

10   go back and look at it, you will see that it is exactly what I

11   tell you.

12              Now, let me go from there, Ladies and Gentlemen.                            And

13   you can keep showing these because you'll see it as they go.

14   This is -- every one of these -- Mr. Reed, just keep rolling

15   through, but I'm not going to -- go ahead.                            It's just going to

16   confirm what I've told you as you watch these documents.

17              And blow them out and let the jury see them.

18              Every reference to W&K has to do with submissions to

19   the DHS.

20              I want to talk with you, Ladies and Gentlemen, about

21   the logic of what would be involved in doing the blockchain.                              I

22   want to tell you this about this:                   Whoever Satoshi Nakamoto

23   was -- and we have evidence that it is Craig Wright -- whoever

24   Satoshi Nakamoto was, one or more persons, when that thing went

25   operational, Satoshi Nakamoto wanted the thing to work -- I'm

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1    sorry.   I've got to back up because I forgot a whole topic.

2               Before -- before it goes operational, it's got to be

3    coded.   It's got to be coded first.                    It's a computer program.

4    It's not about a paper.         The paper is something.                    It's a

5    nine-page paper.      People say it's important.                       It had to be

6    coded.

7               What do we know about the coding?                          We know that

8    Satoshi Nakamoto said -- Antonopoulos testified about this.

9    Satoshi himself said that the codes happened in the two years

10   to 18 months before its release.                  It was released in Halloween

11   of 2008.    I don't know if they will be able to show you the

12   testimony of Andreas Antonopoulos on this.                            But your memory is

13   the key to remember this.           Again, I'm talking about at the time

14   of David Kleiman's life.

15              So in that time period, that goes back to the

16   beginning of 2007.      Dr. Wright tells you that he started coding

17   this in 2007.      And there were the BDO notes.                       And they do not

18   have evidence to show that the BDO notes are forged.                            But

19   here's the point:      What we know -- and here's what Wright says.

20   Wright says that between the time he started in '07 going into

21   March, April, of 2008, he personally coded it.

22              Do you remember that Madura told you that it was his

23   expert opinion that it was coded by a single person in an

24   old-fashioned style?      And Wright told you he coded 32,000

25   lines, but he cut it back to 15 to 16.                        Madura told you that

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1    the Bitcoin blockchain is approximately 16,000 lines of code.

2    And Wright told you that he did it alone, but they want you to

3    believe that Dave Kleiman coinvented this.

4              Here's the problem:              Kimon Andreou, one of the people

5    who knew Dave Kleiman very best in the world -- there are 200

6    pages of text messages between David Kleiman and Kimon Andreou.

7    And please, please look at it.                 Because you will not find the

8    word "Bitcoin" in 200 pages between these best of friends.

9              But here's another thing:                     Kimon Andreou wasn't just a

10   personal friend going every business day to the VA hospital to

11   visit Dave Kleiman.       He was also a computer buddy.                   And he told

12   you straight up, as straight as can be said, he knew the man's

13   work.    He could not code.          He said:            "If there was a simple

14   coding issue, Dave would bring it to me because he could not

15   code."

16             On the other hand, Dr. Wright tells you that he

17   started coding in the C language at age eight and that he had

18   coded in C++.       This was coded in C++.                   And it had to have been

19   coded by March, which would be prior to the kickoff date for

20   the Plaintiffs' story, one of the four pieces of information.

21   So all that coding would have been done.

22             Now, besides that, now let's move to when it was

23   operational.       This was -- is this Kimon?

24             Yeah.      This is Kimon.

25             Thank you, Mr. Reed.

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1              Mr. Reed, you can just bring it up if it's relevant to

2    what I'm saying.

3              I'm not going to wait for the screen, Ladies and

4    Gentlemen, but I hope that Mr. Reed can match to what I'm

5    saying on his own because it's in the evidence and you heard

6    it.    And your memory is what controls.

7              Ladies and Gentlemen, the launch -- the launch --

8    Satoshi wants this to work.             For it to work, there's got to be

9    a lot of computers up.

10             And I'm going to want to see the Antonopoulos

11   demonstrative at Page 23.           I think it's Page 23.               It's the rack

12   of servers.

13             To have the system work, there had to be a lot of

14   computers.    Wright says he had 69 computers running, told you

15   about the racks and the rest.               Okay?         We know it has to be a

16   lot of racks.      Antonopoulos has a photograph of the kind of

17   racks you would have for a mining farm.                         Satoshi has an

18   interest in making this go.             What do we know that David Kleiman

19   has?   At any event, at the end, he had three -- the only thing

20   we know is he had three laptops.                  Nobody ever gave any

21   testimony that he had anything other than that.

22             Ira Kleiman, perhaps in desperation, says:                        "Well, he

23   could have had servers in Tampa."                   But there's no evidence of

24   that, Ladies and Gentlemen.             Let's put that aside because

25   that's not evidence.

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1               Look at this.      This is the picture from Antonopoulos.

2    This is Antonopoulos' demonstrative.                      This is what this would

3    look like.    This is the dozens of computers.                         Let's use our

4    common sense.      Could David Kleiman do anything to put something

5    like this together?      He was in a wheelchair.                       Could he do

6    anything to do the wiring of this?                     Could he do anything to do

7    the electrical connections?             Could he do anything to do the

8    maintenance, Ladies and Gentlemen?                     This stuff -- computers

9    don't run 24/7.      These are super heated.                      Wright told you, and

10   it's been said, you have to use air-conditioners.                           He couldn't

11   set up the air-conditioners.

12              If the air-conditioners failed in Florida, which does

13   happen sometimes -- I'm sure you-all know that -- he

14   couldn't -- because he was in a wheelchair, he couldn't do any

15   of that.    And there's no evidence that he hired a man to work

16   with him.    Wright says he hired a man named Hector Malbburang,

17   but he wasn't 24/7.

18              So in the middle of the night, if it goes down, to

19   keep it going, you've got to go and do it.                            And David Kleiman

20   couldn't do that.      Not to mention that out of the last 900 days

21   of his life, except for the last month, he was in the hospital

22   literally for 877 days.

23              Now, let me just move -- I'm talking about the things

24   that happened during David Kleiman's life.                            And I'm telling you

25   why their story doesn't make sense and why that means that you

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1    should decide for the Defense.

2               Now, Ladies and Gentlemen, besides what I have told

3    you, what are the economics of it?                      You saw that big thing of

4    racks.    Did David Kleiman have the economic means to buy the

5    computers, to buy the transformers, to pay for the electricity?

6    He couldn't pay for his phone bill.                      He couldn't pay for his

7    mortgage.    He couldn't pay for his electricity.                          You heard all

8    the evidence.       He had a sad end.              His -- you saw the tax

9    returns.    His income -- because he was busy working in '09 and

10   even in '10.       He got sick in September of 2010, which is one of

11   the dates in these AD statements.                    One of the times -- W&K is

12   formed after September of 2010.

13              Dave Kleiman is in the hospital every single day from

14   September 10, 2010 until March 21st, 2013.                             You may say:   "How

15   does he remember that?"          It's my birthday.                     So this case does

16   lend itself -- he's in the hospital every single day, except

17   for 23 days.       How he could run a mining farm, Ladies and

18   Gentlemen?    There are no racks of servers at the hospital.

19              Let me just say some of the other things that just

20   make this impossible because the truth has a gravitational

21   pull.    The economics.      He couldn't have paid for it.                       His other

22   work would have interfered with it.                      And a couple more things,

23   Ladies and Gentlemen.

24              Supposedly, they shared private keys.                          That's the

25   idea.    Do you remember Mr. Antonopoulos -- this one's in

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1    Spanish.    I know some of you speak Spanish.                          It says:   "Si no

2    son tus llaves, no son tus monedas."                       "Not your keys, not your

3    coin."   I have one in English.

4               You know who knows that better than Antonopoulos and

5    better than everybody else in the world?                           Satoshi Nakamoto.      He

6    invented it.       And if there were two or there were three, those

7    are the people who know this better than everybody else.                             So

8    why would they do that?          So they wouldn't have security over

9    the keys?    That doesn't make sense.

10              And I'll tell you something else that doesn't make

11   sense that was told to you by Madura.                        The code -- the

12   blockchain code anticipated this issue.                          The fellow who was

13   Satoshi was a bright guy.            He put in something called multisig.

14   Multisig stands for multi-signature.                       It was a way within the

15   blockchain to not have to trust the other person.                           But nobody

16   used multisig.       Satoshi, of course, had to know because Satoshi

17   wrote the code.       And if it was both these gentlemen, they would

18   both know it.       Nobody used multisig -- this was the testimony

19   from Madura -- until 2018.

20              How could it be, if they were both the designers and

21   they were going to share keys, that they wouldn't use the exact

22   device they had built into the code to protect against the "not

23   your keys, not your coin" problem?                      It doesn't make sense.          The

24   case that makes sense is the Defense.

25              Now, I'm going to move on and I'm going talk about the

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1    elephant in the room because I could keep going with you, but

2    time is running out.      I think I'm down to half an hour.                        And

3    the elephant in the room -- when I was coming up -- and I want

4    to tell you two things about this, this question about the

5    truth.   You know, I was looking for inspiration -- this is

6    literally true.     And this is the second longest closing

7    argument I've ever given -- and I went to my bible.                          And it

8    didn't -- I was looking for inspiration.                          It didn't open

9    directly to the first place I opened.

10             After a couple times, though, I fell on this passage,

11   which was -- to me, it's amazing because I think sometimes

12   things are meant to be.         And this passage gives me, I think,

13   something that I want to share with you.                          It's a situation --

14   this is from Luke at 11, Paragraph 45.

15             MR. FREEDMAN:       Objection, Your Honor.

16             THE COURT:    And the basis?

17             MR. FREEDMAN:       The bible's not in evidence.

18             THE COURT:    Are you making argument from passages from

19   the bible?

20             MR. RIVERO:     I am, Your Honor.

21             THE COURT:    All right.              I'll permit it at this point.

22             MR. RIVERO:     I think it's been done for hundreds of

23   years in this country.

24             THE COURT:    Overruled.

25             MR. RIVERO:     Thank you.

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1              Luke 11:45.      What happens?                 Jesus is invited to dinner

2    with the Pharisees.       The chapter is called "The Pharisees and

3    the Lawyers Attacked."         I had absolutely no memory of this, but

4    you can imagine my surprise when I saw this open up in front of

5    me.   And what happens?        Jesus is giving a speech and a lawyer

6    stands up.    And he says:         "Master, when you speak like this,

7    you insult us."       That's the lawyer.

8              And Jesus says -- Jesus says:                        "Alas for you, the

9    lawyers, for you burden people with unendurable burdens that

10   you have not touched with your fingertips."                            That's, I believe,

11   at 45.   And then at 52 he says:                 "Alas for the lawyers, because

12   they hide the key of knowledge, they hide the key of knowledge,

13   and they will not go in and they have prevented others who

14   wanted to from going in."

15             Ladies and Gentlemen, what's my point?                          The key of

16   knowledge here is the evidence interpreted through your good

17   common sense and your reasoning.                   That is my point.           And I want

18   to talk with you -- I've already talked to you -- I've been

19   talking with you about the actual evidence during David

20   Kleiman's life.       That is the key.               That is the key that you

21   need to use.       I don't want to be that kind of lawyer.                        I want

22   to talk about what happened.

23             Now I want to talk -- that's our case.                          Now I want to

24   talk about what didn't happen.                 Because they told you that

25   their entire case relied on the statements from 2013 to 2018.

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1    They just told you in their argument and they told you in their

2    opening.    Their case relies on those statements and four data

3    points besides that aren't during David's life.                       So I want to

4    break this down quickly.

5               Let me say as to the four data points, one, this is

6    all the Plaintiffs have to come to say to you about what

7    happened during David Kleiman's life.                       And in logic, Ladies and

8    Gentlemen -- and I want to make sure that you follow me on

9    this.   In logic, you have to agree with me that if there was a

10   partnership, it was formed during Kleiman's life.                      No

11   partnership could have formed in the AD period.                       The real facts

12   have to have happened during David Kleiman's life.

13              And Ladies and Gentlemen, I want to remind you of a

14   riddle that Ms. McGovern told you about in the opening.                        And

15   this really applies to what I'm going to be talking about,

16   which is what gets said after Dave Kleiman is dead, that --

17   that could be statements -- and it's statements by Dr. Wright,

18   who I represent -- that is powerful.                      But this is a riddle from

19   Abraham Lincoln, who before he was president of the United

20   States was a very good trial lawyer.                      And the riddle is this:

21   "How many legs does a dog have if you call a tail a leg?"                         I

22   think Lincoln was probably arguing to a jury about something

23   like what I'm arguing to you about.

24              "How many legs does a dog have if you call a tail a

25   leg?"   And the answer, Lincoln said to the jury, is:                       "Four."

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1    Because a leg -- a tail is not a leg.                       Doesn't matter what you

2    call it.    A tail is not a leg.              This dog has four legs.                 This

3    dog does not have five legs.              I've just showed the legs of the

4    dog.

5               Let's talk about their evidence.                           Number one, of the

6    four data points inside the time period that's relevant, they

7    have given you March 12th, 2008.                  I've already shown you March

8    12th doesn't fit.     It doesn't make sense.                          It's actually

9    helpful to the Defense because that didn't happen.

10              Now, though, say -- the Turkey Day talk -- the

11   Thanksgiving Day talk -- I'll say this quickly, Ladies and

12   Gentlemen because I spent time with you, but I think you're

13   going to remember.     There is only one person in this case who

14   says that he had a direct conversation with Dave Kleiman, which

15   supposedly it's about Bitcoin.                Right?          And that's Ira Kleiman.

16   Talk about an interest.         He's claiming $32 billion, plus 120 --

17   a hundred and 50 billion dollars of interest.                            That's 150

18   billion reasons.     Right?

19              And so here's what he says.                    Here's the story.           It's

20   November 26th, 2009.      It's Thanksgiving.                      The father and the

21   wife are washing the dishes conveniently.                             And it's just the

22   little girl and the two adults.                 And I have a younger brother.

23   So I think I hear this conversation a little differently from

24   the way counsel does.       And remember, Mr. Kleiman was very

25   successful.    And I don't know that we've heard anything about

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1    all these qualifications and the rest from this brother.                              And

2    what I hear is this:      "Hey, why don't you do something --

3    you're such a big shot in computers.                      Why don't you do

4    something like this kid Zuckerberg?                     Why don't you invent

5    something?"

6              And I hear the older brother saying -- I'm the older

7    brother, by the way.      I hear the older brother -- so I think I

8    can understand this -- "What are you talking about?                            I am doing

9    something bigger than that.             I'm inventing money."                 And the

10   conversation keeps going in the same vein.                            "Inventing money?

11   What are you doing, counterfeiting?"                      And he says:        "No.    I'm

12   inventing digital currency."

13             And then this is what is said to you by Kleiman.                             This

14   is the conversation.      He takes out a business card and he takes

15   it out of his wallet, Dave Kleiman does, without saying a word

16   and he writes that on the business card and shows it.                             I had a

17   business card that I had Kleiman draw on, but I can't find it

18   right now.    But you'll remember I did that.

19             And then he also tells him -- they go on:                           "Rich

20   foreigner," this kind of stuff.

21             Ladies and Gentlemen, why doesn't this fit together?

22   You already know.     I just hope you'll remember.                        Inventing

23   Bitcoin on November 26th, 2009?                 Inventing it?            Antonopoulos

24   told you that Halloween 2008 was when the whitepaper was

25   released, Bitcoin was invented.                 That's 13 months earlier.

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1              You know who would know that better than anybody?                          The

2    inventor.    The inventor would never say that.                       So this doesn't

3    make sense.    But the other thing is this logo you heard -- this

4    logo wasn't the logo at that time.                     They tried to fuzz it up

5    with this -- and this goes into what Wright said that's after

6    Dave.   But that's not the point.                 This is testified to that

7    this was suggested for the first time on February 4, 2010,

8    three months later, by a handle called New liberty.                         And it's

9    adopted later in 2010.        This is not the symbol for Bitcoin at

10   the time.    It can't be.

11             At that time, the symbol was a B and a C with a circle

12   around it.    And even if you look at the email that they may

13   show you now in rebuttal, which is after the fact, you'll see

14   the first one.     That's the one that's in place on this date.

15   This story doesn't hold together.

16             Now, was there a conversation about something?                         I

17   don't know.    I wasn't there.            It sounds to me like somebody has

18   a very great interest in telling you that story.                        But I won't

19   exclude the possibility that Dave Kleiman knew about what his

20   friend was doing and wanted to respond and rebut what his

21   brother was saying without actually being involved.                         I suppose

22   that's possible.     But whatever.              David Kleiman wouldn't have

23   said these things because they weren't the case.                        It doesn't

24   make sense.    That's why the powerful case is the Defense.

25             Now, I'm just talking right now about their evidence.

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1    There's only a couple more.              And this, I really need, Mr. Reed.

2    This is -- I need to -- he was showing you here a fellow named

3    New Liberty on February 5, 2010 proposed the B with the line

4    through it.

5               Now, what I need is I need that testimony about

6    Mr. Andreou and I really do need to show that to the jury.

7               This is point three from the other side.                        When Ira

8    Kleiman gets on that standard, and I'm cross-examining him -- I

9    hope you remember this because it's somewhat dramatic for me --

10   I ask him -- and the questions are going to come up.

11   Approximately, I ask him:            "So beside the Thanksgiving Day

12   story, you didn't hear anything else from anybody" -- okay.

13   I'll set it up.

14              "You didn't know from anybody else -- there was nobody

15   else you have information from that they had talked to Dave

16   about Bitcoin during his life?"                  Had to be during his life.

17   And he says:       "No.   There's an email."

18              And -- no.     You got to go back.                      I'll set it up.    If

19   you can find the testimony that Mr. Kleiman gave me, I would

20   really appreciate it.

21              What happens is he says:                  "There's an email.          There's

22   an email, and that email shows that one of his friends talked

23   to Dave.    And then we had a discussion -- the friend and I had

24   a discussion more recently."               I was taken aback, you may

25   remember.

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1               And the next day -- now you can go ahead, since I've

2    set it up anyway.

3               The next day, Mr. Brenner is trying to fix this issue

4    that Kleiman is now saying that there's an email that one of

5    Dave's friends talked to Dave in life.                        This is point three.

6    Ira Kleiman is making this up on the stand in front of you.                          In

7    life?   So you know why it can't be because it didn't happen.

8    But he's saying this on the stand.                     So next day Mr. Brenner

9    says:   "What is the basis for Kimon's opinion that he was

10   convinced that Craig and Dave are the cocreators of Bitcoin?"

11   Let's make sure you follow that.

12              So in the email Kimon says something -- you might

13   remember the email.     So Kimon -- he -- "Kimon told me that they

14   had had a discussion with Dave."                  You remember that?        They are

15   trying to -- this gentleman is trying to make up a fact in this

16   critical time period of during Dave.                      But let's see what Kimon

17   Andreou said about that.          "The Plaintiff" -- about this

18   email -- "Ira Kleiman was asked: 'What is the basis for Kimon's

19   opinion'" -- this is to Kimon Andreou -- "'that he was

20   convinced that Craig and Dave are cocreators of Bitcoin?' And

21   what Ira said was that you had had a discussion with Dave

22   Kleiman.    Is that true?"

23              "No.    That is false."

24              The key to knowledge is truth, Ladies and Gentlemen.

25   The key to knowledge is truth.                Ira Kleiman got on the stand.

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1    He doesn't have anything in Dave's life.                           He doesn't have

2    anything.    So to add to the Turkey Day story and the March 12th

3    email that they don't want to put in that stinking pile of

4    forged material where they're cherrypicking from -- he's got to

5    add and he adds something that's just completely and blatantly

6    false.

7              And just in case -- because he says they had

8    discussions, let's see what Patrick Paige says, just to make

9    sure that we're not confused.                Can we see the Patrick Paige

10   comment about whether he ever talked to Dave Kleiman about

11   these subjects.     It should be lined up next.

12             "So during David's lifetime, despite all the

13   conversations that you had with him, he never told you that he

14   had Bitcoin, right?"

15             "Correct."

16             "In fact, during his lifetime, he didn't mention

17   Bitcoin at all to you?"

18             "Right.    No.     He never did."

19             "And during his lifetime, he never told you that he

20   mined Bitcoin?"

21             "Right."

22             Ladies and Gentlemen, just because of the pressing

23   time -- I think I'm making my point.                       But I want to talk about

24   the elephant in the room.            Their entire case is cherrypicked

25   out of what they tell you is stinking, filthy lies and

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1    forgeries.    They say he's a damnable liar and a damnable

2    forger.    Number one, there's not going to be a count for

3    forger.    There's not going to be a count for liar.                         There's not

4    going to be a count for ATO cheat.                     That's not what this case

5    is about.

6               Number two, in logic, how can you build your entire

7    case -- you heard from them for almost 75 minutes, about the

8    amount of time I've talked about, and they didn't bring up one

9    factor in David's life.         When I've been talking to you 70

10   minutes and I can't get to it all.                     There's so much during

11   David's life that shows it didn't happen.

12              What they talked to you about for 75 minutes was about

13   exactly the statements of Craig Wright and about the forgeries

14   of Craig Wright.     That's the only thing they put in front of

15   you.   That's how they baked the cherry pie.                          And in logic -- in

16   logic, you have to pick.          Either he's a damnable liar -- and

17   the minute he's a damnable liar, you can't rely on it.                            I don't

18   understand how you can say:             "The man says black.               The man says

19   white.    It was proven to you" and then you say:                        "No.    But I

20   want to pick this black stuff.                This is what I want to pick."

21   That doesn't make sense.          I don't want to operate in my life --

22   you can't operate in your life that way.                          If a person's a liar,

23   then you disregard it.        Don't use that information.

24              That's what common sense dictates, not build a case

25   after four years, hundreds of thousands of documents, witness

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1    after witness, devices, computers, everything else, and now

2    we're just going to go with what the liar and forger says?

3    Fantasist.

4              Now, here's another thing.                     The statements.        You can

5    look at them.       And I'm not going to have time now because I

6    still have to cover damages and these counts.                           The statements

7    fall into three broad categories.                    I'm going to do this in a

8    general way.       And I hope that you will stay with me on this.

9    There are statements, Ladies and Gentlemen, that they are

10   pointing to that are true statements.                        There are some of these

11   that are true statements.            When Wright says:                 "My friend and

12   business partner died," that is a true statement because they

13   were partners -- as you see he deemed it partner -- in W&K.

14   Okay?   So some of these are true.                   Others are completely taken

15   out of context.

16             Another document that they would like to disappear

17   is -- at one point they showed you a document from December.

18   That document, they suggested, was about Bitcoin.                           It would

19   have been a data point during David's life.                            But the problem is

20   that document was about the Data Wipe Fallacy paper.                            That's

21   what they were talking about.                And they weren't talking about

22   Bitcoin, so they don't want to talk about it.

23             So some of these statements are taken out of context.

24   And the rest of the statements, which they say are lies, and

25   they say are forgeries, are all they told you -- Edman told

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1    you -- when did he tell you the forgeries were done?                         He didn't

2    say the forgeries were done in 2018 after this lawsuit was

3    filed.   In fact, Plaintiffs' counsel made a point of saying you

4    have to compare him before the lawsuit to after.                        So they're

5    not saying there was a forgery after 2018.

6              Think to yourself.            A liar and forger, now he's sued

7    and he's going to produce hundreds of thousands of documents?

8    How come none of the forgeries are from 2018?                         How come none of

9    the forgeries are from 2019?              Use your common sense because

10   it's going to lead you to the Defense.

11             If you're a forger today, you're a forger tomorrow.

12   You're a forger every day.            And you have an interest -- if your

13   real interest is to beat the litigation, when you know you need

14   the forgeries is after you're sued in February of 2018.                          They

15   didn't tell you there was a single forgery after February 2018.

16   They tell you the forgeries are in 2014 and 2015.

17             And Ladies and Gentlemen, the New South Wales

18   litigation, you've seen it.             They make the case better than I

19   do.   His invention and his profit from his invention, right, is

20   being threatened by the ATO.              The Plaintiffs' counsel -- I was

21   trying to go -- I was going to go into evidence.                        But the

22   Plaintiffs' counsel describes it very accurately.                        He was

23   fighting for his life.

24             You know, in Craig Wright's mind -- and I don't

25   understand Craig Wright's mind.                 When I was growing up, we

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1    didn't have any diagnoses and we didn't know.                          And so I'm

2    trying to learn.       And in its -- I've learned a lot in general

3    and with Dr. Klin too.         I didn't know that only 42 percent of

4    the people with autism have their mental abilities intact and

5    that a very small percentage of those people are able to

6    function at these high levels.                 I didn't understand all these

7    things.   But what I am saying to you is that those statements

8    are at a time, as counsel tells you, that he's fighting for his

9    life.   And in his mind -- I think this is the question that

10   Klin talks about -- it's not an excuse or late diagnosis.

11             If any one of you thinks that Dr. Craig Wright is like

12   a normal person walking down the street, if any one of you buys

13   that we made this up and that this is a show, the way he's

14   acting -- I don't know people who act like that.                          If you

15   believe that, go back and vote for them.                           If you buy that, go

16   back.   That's -- come on.           There's something that doesn't fit

17   our concepts of normal behavior.                   Dr. Klin suggests some ways

18   that that operates.

19             But one of the things that keeps coming up -- and I've

20   learned a little bit from talking to people who have autistic

21   relatives -- is there's this acting out.                           There's this

22   frustration.       It depends whether the individuals are higher

23   functioning or lower functioning.                    But he was described --

24   Dr. Klin says he has adult tantrums.                       His being was threatened.

25             Now, what is the simpler explanation in 2014 and 2015?

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1    And these statements that we're talking about are all '13, '14,

2    '15 and later, and these contradictions -- there's a

3    principle -- and I don't want to get too fancy -- in logic

4    called Occam's razor.       Occam's razor is that when there are

5    multiple explanations, the simplest one is generally the true

6    one.

7               I'm going to tell you the simplest one right now.

8    This is as to the bucket of statements that's mostly what they

9    rely on.    And let me give you examples.                       "I had Dave do the

10   mining in the United States."               Well, why would you say that?

11   Well, I'm going to tell you one reason.                         Because you're being

12   threatened by the Australia tax authorities.                            And if you move

13   this thing offshore and project it onto your dead friend, and

14   move it offshore, you escape tax liability.

15              "Dave mined it into a trust in Seychelles."                           Same

16   thing.    Offshore.   Look at the statements.                         And ask yourself --

17   when they're talking, ask these questions.                            Why do they only

18   rely on after Dave?     Why do they only rely on a gentleman that

19   they say is a liar and forger?                And why do they rely on

20   statements that plainly -- I'm going to get to the punchline --

21   plainly are in furtherance of tax arguments?                            I'm not going to

22   condone it.    I'm not going to justify it.                           I can barely explain

23   it.    But I'm telling you that Occam's Razor dictates that the

24   simplest explanation is the explanation -- is the true

25   explanation.

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1              And here's my point:              In 2014 and 2015, Craig Wright

2    was in the fight of his life with the ATO.                            And the statements

3    are statements that have explanatory power on the ATO.                             And

4    2014 and in 2015, he's not in a fight with Ira Kleiman.                             He's

5    not making up statements -- to the extent that he's making up

6    statements, he's not making up statements for Ira Kleiman.                               It

7    doesn't make sense.      That's why your correct decision is for

8    the Defense.

9              Now, I have very little time, so I am going to

10   compress this.      I need to talk about damages with you briefly.

11   And I'm going to do this in this spirit:                          When I got in the car

12   to come here this morning -- I don't know if you drove.                             When I

13   got in the car, I put my seat belt on because it's the law and

14   just in case.      But I've driven here many, many times over the

15   last 35 years and I've never had an accident, but I put the

16   seat belt on.      And I'm going to talk to you about damages

17   because it's the law and because just in case.

18             Ladies and Gentlemen, you have in evidence -- and Mr.

19   Reed, if you can show those two or three emails, you know, how

20   Ira Kleiman would have behaved with this Bitcoin had he had it

21   at the time.

22             And here it is.         He said he would have sold at least

23   parts of it.

24             If you can show the other emails.

25             There are multiple emails that he would have extracted

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1    a portion of the value.         He also says elsewhere:                "You should

2    reduce your risk."     He says:           "Dave would have sold the

3    Bitcoin" -- pull that out, Mr. Reed.                      "If my brother had

4    Bitcoin of any value, he wouldn't have died with only his

5    debts.   And if Dave owned a great number of Bitcoin, why

6    wouldn't he sell a few?"

7               These gentlemen wouldn't have held this all the way

8    through.    So they're asking you for something that is

9    completely unreasonable.          Even if you found -- and there's not

10   a basis to -- but even if you found that there were damages, it

11   shouldn't be the value now.             It should be the value on April

12   26th, 2013.    And Antonopoulos gave you that date.                     That's when

13   Dave died.    It should be the earlier value.

14              You can't play the stock market -- you can't say --

15   let's say that somebody stole a painting from you today.                         And

16   then they went -- they took it away and 10 years later you

17   discovered it and it had gone from very valuable to zero.                          It

18   would be right to say zero.             It would be when it was stolen.

19   And if it went up, it's the same.                   Both are the same.

20              The damages, Ladies and Gentlemen, should not be

21   calculated based on current values.                     The value at that time, if

22   memory serves -- you will have it in Antonopoulos' testimony --

23   was sub a hundred dollars, if there were damages.                       And I'm

24   going to tell you in a moment why it shouldn't be.

25              MR. FREEDMAN:      Your Honor, objection.                  This is

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1    directly contrary to the Court's instruction on the law.

2              THE COURT:     Mr. Rivero?

3              MR. RIVERO:     Judge, I think is a fact argument.                      It's

4    a fact argument, Your Honor.

5              THE COURT:     All right.             Let's stick with the law with

6    regard to --

7              MR. FREEDMAN:       Your Honor, the damages should not be

8    based at the time of the highest value.                         It should be based --

9              THE COURT:     Ladies and Gentlemen, you are to follow

10   the law that the Court has provided you both in written and

11   oral.

12             You may continue.

13             MR. RIVERO:     Ladies and Gentlemen, besides that,

14   remember, that to find a partnership it has to be clear on

15   critical elements like ownership and entitlement to a

16   percentage of ownership.          If you're going to rely on the

17   stinking heap of cherrypicked lies, was it Dave Kleiman and

18   Craig Wright?      Was it Dave Kleiman, Craig Wright, and Hal

19   Finney?   Was it Dave Kleiman, Craig Wright, and the other guy

20   who is not named?      Was it another team because you heard other

21   ones mentioned by Wright today?                 You've got to have something

22   that makes sense, and that doesn't make sense.

23             Ladies and Gentlemen, since my time is really almost

24   up, first of all, I want to thank you for your patience in

25   listening to me for all this time and often with technology

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1    that didn't serve me as well as I would have hoped.                       But what I

2    ask you to do -- you've already seen this Verdict Form -- is in

3    every instance where there's a count, I ask you to write

4    simply -- it's a yes or no.             I ask you to write "no" on every

5    single one because the evidence does not come to the burden

6    that they have to meet to establish that partnership existed.

7              With regard to W&K and the IP, what I ask you to

8    remember and to look at the evidence during David Kleiman's

9    life.   And that evidence is that they did proposals that

10   failed.   And therefore, that value -- whatever fantasy Craig

11   Wright may have built up later, for whatever reasons, that

12   value wasn't there.     There's no evidence, unless you're going

13   to rely on statements made by the guy that they tell you is a

14   damnable liar and a damnable forger.

15             Now, Your Honor, one moment, if I may.                      I just want to

16   make sure I haven't missed anything from my co-counsel.

17             THE COURT:    All right.

18        (Pause in proceedings.)

19             MR. RIVERO:     Ladies and Gentlemen, let me go back to

20   where I started and thank you for your service.                       It's really

21   important.    But I also want to go back to where we really,

22   really started in the case.             And I hope -- you know, there are

23   two sides to every story and I have done my best to put this in

24   before you.    But the sides of this story are quite

25   straightforward.     One side, my side, is what actually happened

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1    and what could have happened.               What does the evidence -- what

2    do the facts show happened in truth and in fact during the time

3    period that the partnership could have been formed and the

4    partnership could have been executed.

5              And that time period is from whenever the coding

6    started of Bitcoin or whenever the invitation happened to

7    Bitcoin, which they say is March 12, until David Kleiman dies.

8    That's the only time period.              And I've tried to put forth --

9    and I'm sure I missed important details because there are many

10   on my side of that.     There are many.                   That's one side.

11             The other side -- they spent 70 minutes -- they could

12   spend 70 hours.     This 20 minutes, ask yourself:                       Where do they

13   go other than to Craig Wright's statements?                           And if they are

14   going -- and by the way, there is one more.                           I just remembered.

15   I need to mention Radvanovsky.

16             Ladies and Gentlemen, Radvanovsky says that -- he

17   does.   He says in conversations with Wright and Kleiman -- it's

18   in 2009, and it's about -- he doesn't say that it's about

19   inventing Bitcoin or mining Bitcoin at all.                           All right?   So if

20   they show you Radvanovsky, just remember -- we'll make sure

21   it's in context -- that's the only other point they have in

22   life.   I suspect under the circumstances they may need to lean

23   heavily on that because they don't have anything else.

24             It can't be -- and here's the point:                         Their case is

25   built entirely, Ladies and Gentlemen, on the statements of

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1    Craig Wright and the alleged forgeries of Craig Wright.                           You

2    saw it.    I'm not making it up.              I'm not telling you something

3    you don't know.     If you listen carefully, they never -- every

4    declaratory statement starts:               "Craig Wright says," "Craig

5    Wright says."

6               In logic, Ladies and Gentlemen, we do not operate in

7    life by saying:     "You know, this individual is just a

8    straight-up liar.     That's all they do.                     But when they say

9    something that I want to use, I'm going to believe that."                            You

10   know why we don't do that?            Your common sense says it doesn't

11   make sense.    And that's why the only correct verdict, the only

12   true verdict, the only verdict that you can return is a

13   return -- a verdict for the Defense.

14              And Ladies and Gentlemen, I thank you so much for the

15   careful attention that you have paid to me and throughout this

16   trial.    And I only apologize that I don't -- I wasn't able to

17   cover everything during this period of time.                          But I think I've

18   made -- the central point to you is that if you line up the

19   evidence of -- the false statements and forgeries are

20   weightless.    They are weightless.                 They cannot bear weight.

21   That's a quicksand.     That's a sand trap.                       You don't build --

22   it's a house of cards that falls over with a touch.                          Against

23   what happened in life, it's clear.                     It's clear that they fail

24   to meet their burdens -- their burden at all.                         They don't get

25   close.    Therefore, Ladies and Gentlemen, I ask you to enter a

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1    verdict in every instance for the Defense.

2              Thank you very much.

3              THE COURT:    All right.              Thank you, Mr. Rivero.

4              Let's go ahead and take a 10-minute comfort break.

5         (Jury not present, 2:05 p.m.)

6              THE COURT:    All right.              Mr. Freedman, you have 12

7    minutes remaining on your rebuttal close, sir.

8              MR. FREEDMAN:       Thank you, Your Honor.

9              THE COURT:    All right.              All right.            We're on a

10   10-minute recess.

11        (Recess from 2:05 p.m. to 2:16 p.m.)

12             THE COURT:    All right.              Welcome back.

13             Scott, can you make sure we have all our jurors ready?

14             COURT SECURITY OFFICER:                 Yes.        I will.

15        (Before the Jury, 2:16 p.m.)

16             THE COURT:    All right.              Welcome back, Ladies and

17   Gentlemen.    Please be seated, everyone.

18             And we'll proceed with the rebuttal closing argument

19   by the Plaintiffs.

20             MR. FREEDMAN:       May it please the Court.

21             Ladies and Gentlemen, you know what the bible also

22   says?   "Thou shall not steal.              Thou shall not bear false

23   witness against thy neighbor."

24             Ms. Vela, can you bring up P76.

25             Mr. Rivero got up here and told you Ira Kleiman lied.

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1    No, he didn't.      Kimon told him clearly that he had a

2    discussion -- can we put up P767, please.

3               Kimon told him clearly he had a discussion with Dave

4    about Bitcoin.      It's right here.              "With the addition of

5    anecdotal information we have from discussions with Dave."

6               Ira was telling the truth.                   Did Kimon get on the stand

7    and tell you:      "'We' didn't mean 'we,' it meant some other

8    people"?    Yeah, he did.       But Ira didn't lie.                   That's what Kimon

9    said.

10              There is one liar in this courtroom.                       In fact,

11   Mr. Rivero has agreed that his client is, I believe I'm

12   quoting, a damnable liar.           Stipulated.

13              You know what's not a lie?                   The fact that this man is

14   a multi-billionaire, that he said -- and he has more money than

15   the country of Rwanda, a nation state.                        And that he got half of

16   that wealth from stealing it from his dead best friend.

17              He tells you to ignore the fact that Craig Wright is a

18   damnable liar.     But that's not what Judge Bloom told you to do.

19   In her instructions, the bottom of Page 3, she said:                          "Ask

20   yourself whether a witness testified falsely over an important

21   fact or gave conflicting testimony."                      That is something you are

22   supposed to think about.

23              Mr. Rivero says:         "There will be no count for lying,

24   no count for cheating, no count for forgery when you go back in

25   the jury room."     He's wrong.           There's a partnership count.

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1    You're not allowed to cheat your partner in this country.                              And

2    if you do, you get held accountable.                       You're not allowed to

3    commit fraud.       You're not allowed to commit theft.

4              Mr. Rivero seems to be accusing Plaintiffs of

5    cherrypicking Craig Wright's statements.                           That's not true.

6    Mr. Rivero didn't show you a single statement from Craig Wright

7    during his opening statement that conflicted what we said he

8    said all along before he was sued.                      He didn't show you a single

9    pre-litigation Craig Wright statement that conflicted what we

10   told you, not one.

11             Sure, did Craig Wright change his tune after he got

12   sued by the Kleiman estate?              Yes.        But that's because he's a

13   damnable liar.       Before then, not a single piece of evidence did

14   he show you.       We didn't cherrypick anything.                      We just gave you

15   the truth.

16             Here's what you have to know:                        Craig Wright says

17   whatever he needs to serve his purpose, to serve Craig Wright.

18   He tells the truth when it helps him.                        So telling the truth

19   about Dave would have helped with the police?                           He told the

20   truth.   Telling the truth to the Australian Taxation Office to

21   protect himself from Australian tax investigation?                            He told the

22   truth.   He lied to the ATO when it came to where he got W&K

23   from because that was in his best interest.                            And he's lying to

24   you now because that's his best interest.

25             If you want to find out the truth, you just have to

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1    look at why Craig is doing what he's doing.                           What serves Craig

2    Wright best today?     And that's the lie of the day from Craig

3    Wright.

4               Especially -- Ms. Vela, can you put up "Satoshi's

5    Vision," Craig Wright's book, please, for us -- especially

6    since this man puts in his book that he does it on purpose.                             He

7    tells you:    "Feign madness, but keep your balance.                         Hide behind

8    the mask of a fool, a drunk, or a madman to create conviction

9    about your intentions and motivations."                         That's Craig Wright

10   for you.

11              Let's talk about the devices for a second.                         This

12   devices defense, that the Bitcoin are on the Ira Kleiman -- the

13   devices that Ira Kleiman has is just plain silly now.

14   Mr. Rivero told you clearly, in plain English, that even he

15   doesn't believe there are Bitcoin on the devices.                          Which makes

16   sense, since his own expert testified that there was no

17   evidence of any Bitcoin on the devices.

18              Ms. Vela, can we look at that testimony for a minute.

19              While that's coming up, I just want to make sure --

20   Nicholas Chambers, the Defense expert.                        "You have no evidence

21   that any private keys were overwritten?"

22              "I did not see evidence of private keys being

23   overwritten, no."

24              It's a joke, that defense.

25              Mr. Rivero made jokes today about a secret phone

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1    booth, about Clark Kent and Batman.                     Yeah.         Does he not realize

2    the world we're in right now?               We're talking about Bitcoin.

3    We're talking about digital currencies.                         We're talking about

4    Satoshi Nakamoto, the greatest mystery of digital age.                             Yeah,

5    that's right.      There is a secret phone booth.

6              But you don't have to take my word for it.                           Take Craig

7    Wright's word for it.       He told you over and over again that his

8    relationship with Dave Kleiman was a secret.                           Dr. Wright and

9    his attorneys have pointed out that Dave didn't talk about

10   Bitcoin with many people, that there aren't communications

11   between him and Craig Wright.               But there's a reason.               They

12   agreed -- Ms. Vela, can we please put up the next slide.

13             "Dave and I had a project in the US there.                           We did

14   what he kept secret."       They had an agreement to keep it a

15   secret.

16             Dr. Wright explained -- and you know what?                           For good

17   reason.   They created a digital currency that's worth over a

18   trillion-dollar market cap.             That's challenging fiat currencies

19   of nation states.      They had good reason to keep it secret.

20             Dr. Wright explained to Ira, for example -- Ms. Vela,

21   can you go to the next slide -- in an email to Ira on

22   February 16th, 2014 he said:              "Nobody with this wants to ever,

23   even after death, be known.             Please understand Dave would not

24   have wanted the world knowing.                If the Department of Homeland

25   Security and others had known what we were doing, they would

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1    have stopped it early."          They had good reason to keep it

2    secret.

3              In fact, Dr. Wright kept it secret from his wife.

4              Ms. Vela, can we look at Ms. Lynn Wright's testimony.

5              "When was the first time you heard the term Satoshi

6    Nakamoto?"

7              "Probably around 2012."

8              "'12.      And how did you hear about that term?"

9              "In an article that my sister-in-law sent me."

10             "Did Craig ever mention the term Satoshi Nakamoto to

11   you?"

12             "No."

13             His own wife.        Secret phone booth.

14             Well, let's look at what Craig Wright said about why

15   he had a secret phone booth.

16             Ms. Vela, can you play clip 31 from Dr. Wright's

17   deposition.

18        (Video:)

19             "Q.      How were you in contact with him in 2006?

20             "A.      We spoke over IRC.              We spoke over video chats.

21   We spoke over chats.

22             "Q.      You said:     'Chats.' Can you drill down on that

23   for me?   What do you mean by 'chats'?

24             "A.      Digital chat media.               IRC is an example of an

25   early chat format.       It has rooms.               Some of those are public.

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1    Some of those are private.

2              "Would you like me to detail the format of the

3    protocol anymore?

4              "Q.      No, but I would like you to drill down a little

5    bit on the type of chats besides IRC that you used to discuss

6    with Dave Kleiman."

7         (Pause.)

8              "Q.      No, but I would like you to drill down a little

9    bit more on the type of chats besides IRC that you used to

10   discuss with Dave Kleiman.

11             "A.      I don't remember.               These things have changed.

12             "Q.      Do you have any access to any of these IRC chats?

13             "A.      No.    That is the nature of IRC.

14             "Q.      Do you have any access to any of these video

15   chats?

16             "A.      No.    That is the nature of video chats.

17             "Q.      Do you have access to any of the other chat

18   forums that you used to discuss with Dave Kleiman in 2006?

19             "A.      No."

20             MR. FREEDMAN:          Listen to this.

21        (Video continues:)

22             "Q.      We made sure that we talked on things that were

23   chats.

24             "A.      Meaning there was no record?

25             "Q.      Meaning that there was no record."

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1         (End of video.)

2              Secret phone booth.

3              Ms. Vela, can you play clip 35 from Dr. Wright's

4    deposition.

5         (Video:)

6              "Q.      Dr. Wright, in discovery, we received this as a

7    scan of paper printout.          We also received it as a PDF file.

8    But we did not receive it as an actual email file.                             Can you

9    explain why that is?

10             "A.      When I was outed in December 2015 as Satoshi, I

11   tried to remove all evidence of who I was.                             I did my best to

12   wipe out all of my social media.                   I did my best to wipe out my

13   emails and any other record that would tie me to being Satoshi

14   Nakamoto."

15        (End of video.)

16             He got rid of everything.

17             Ms. Vela, clip number 36 in a second.

18             He even testified that he got Dave Kleiman's help and

19   agreement to destroy everything that related to Satoshi.

20             Ms. Vela, clip number 36, please -- sorry -- 35.

21        (Pause in proceedings.)

22             MR. FREEDMAN:        Oh, 36.           36.       Yes.        My mistake.

23        (Video:)

24             "Q.      Why did you involve Dave Kleiman in that

25   conversation?

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1               "A.     I wanted to clean up everything to do with

2    Satoshi.    Dave was not only my friend, but he's a forensic

3    expert.    I wanted to ensure that there was no record of my

4    being Satoshi left."

5         (End of video.)

6               I have 12 minutes.            You'll remember from the

7    cross-examination this went on and on.                         They agreed to delete

8    the records.       They deleted the records and they talked on

9    secret chats.

10              You know -- so why do we have only Craig Wright's

11   statements?      Well, it's tough when the partner is dead and was

12   an honorable man that abided by his commitments to keep it a

13   secret and delete ail the records.

14              You know, they showed you a huge rack of servers.

15   What they didn't show was the caption from Antonopoulos that

16   showed that was post-2013.             If you remember, Mr. Antonopoulos

17   testified after 2013 it became a lot more difficult to mine and

18   then you needed lots of servers.                   Before that, you could do it

19   on a home computer.       Dave Kleiman had powerful computers at all

20   times and controlled remotely other computers.

21              You also heard Dr. Wright testify about having racks

22   of servers on the last day of trial, until I impeached him with

23   his prior testimony where he said:                      "Well, actually, I only

24   mined in one location."

25              I want to talk to you for a moment about the statute

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1    of limitations defenses and laches defenses that are on the

2    verdict sheet.     They're a joke.              Mr. Rivero didn't even raise

3    them in his closing statement.                There's zero evidence of any of

4    that.   If there was, he would have talked about it.                       And he

5    didn't.

6              So Ladies and Gentlemen of the Jury, it's been a long

7    trial, but there's been a lot of evidence on one side and a lot

8    of gobbledygook and lies and forgeries on the other.                        I think

9    the estate of Dave Kleiman and W&K have made a very clear case

10   that they were partners, they did this together, that Craig

11   Wright's choice has led us here today.                        And we're relying on

12   you and your choice to return those assets to the estate.

13   That's what we ask you to do.

14             Thank you.

15             THE COURT:    All right.              Thank you, Mr. Freedman.

16             Ladies and Gentlemen, take the Verdict Form with you

17   to the jury room.     When you have all agreed on the verdict,

18   your foreperson must fill in the form, sign it, and date it.

19   Then you will return to the courtroom.

20             If you do wish to communicate with me at any time,

21   please write down your message or question and give it to the

22   court security officer.         The court security officer will bring

23   it to me and I will respond as promptly as possible either in

24   writing or by speaking with you in the courtroom.

25             Please understand that I may have to speak with the

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1    lawyers and the parties before I respond to your question or

2    message.    So you should be patient as you await my response.

3               But I caution you not to tell me how many jurors have

4    voted one way or the other at that time.                          That type of

5    information should remain in the jury room and not be shared

6    with anyone, including me, in your note or question.

7               In just a few moments, as you return to the jury room

8    to begin your deliberations, you will be receiving three

9    laptops.    Each laptop has been uploaded with all of the

10   exhibits that have been admitted into evidence.

11              As well, you will receive three exhibit lists with a

12   brief description that will aid you in considering the evidence

13   that has been presented in this trial.

14              As I stated previously -- and I know that Liz has

15   arranged for lunch -- lunch is in the jury room.                         I would ask

16   that you retire to the jury room to begin your deliberations at

17   the end of the day.     At that point, if you have not arrived at

18   a verdict, then we'll bring you back in the courtroom and the

19   Court will give you further instructions.

20              All right.

21        (Jury not present, 2:30 p.m.)

22              THE COURT:   All right.              Please have a seat.

23              I know that the courtroom deputy has asked you for

24   phone numbers in the event that the jury has a question or does

25   arrive at a verdict.      This is the hardest part for each of you.

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1    I recognize, after serving as a trial judge for over 27 years,

2    that this is a very difficult part in the trial.

3              But regardless of the outcome, I do want to ensure

4    each of your respective clients that each of you, all of you,

5    received tremendous counsel with superb trial skills.                             I

6    particularly want to thank Ms. Vela, Mr. Shah, and Mr. Reed.

7    There were 1,021 exhibits admitted into evidence.                           There were

8    many witnesses and videotaped depositions.                            And I want to thank

9    each of you for mastering the evidence, as well as staying on a

10   strict schedule -- all counsel.                 I know that the Court did

11   place you on a strict schedule and I appreciate your

12   compliance.

13             You have each been diligent, professional, and true

14   officers of the Court.        And let me say, as we recess and wait

15   for the jury's verdict, that it has been an honor and a

16   privilege to have worked with and served on this case since

17   February of 2018 and certainly during these last 15 days of

18   trial.

19             I do want to thank you for the excellent service that

20   you provided not only to your respective clients, but certainly

21   to our system of justice.

22             So at this point in time, we will recess.                           You can go

23   to lunch.    I do want to let you know the jury is having their

24   lunch.   So for the next one hour, I don't want you to feel that

25   we're going to interrupt your lunch because our jurors are

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1    going to have lunch.      So from 3:30 on, I would ask that you

2    stay close at hand.      If you're going back to your offices, if

3    you will provide a phone number or where we can get in contact

4    with you.

5               As I stated, this afternoon I anticipate that the end

6    of the day -- I'm not certain for the jury if it will be 5:00,

7    5:30 -- Liz will find out what time -- I think maybe she found

8    out now.

9               COURTROOM DEPUTY:          One of the jurors wants to go

10   downstairs for a smoke.

11              THE COURT:    Oh, all right.

12              COURTROOM DEPUTY:          Right now, they haven't started

13   anything.    They actually want to eat first.                         He desperately

14   wants to go downstairs for a smoke before he starts

15   deliberating or doing anything.

16              THE COURT:    All right.             So we're going to give the

17   jurors the 45 minutes to a one-hour lunch.                            So they can

18   certainly go down and have their smoke or go about, even though

19   we have provided the lunch.

20              So for the next hour, enjoy your lunch.                         And at about

21   3:30 please be on hand in the event that the jurors have a

22   question or arrive at the verdict.                     All right?

23              All right.    Have a pleasant afternoon.

24              MR. RIVERO:    Thank you, Judge.

25        (Recess from 2:33 p.m. to 4:58 p.m.)

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1              THE COURT:     All right.             Welcome back.         Please be

2    seated.

3              I did want to advise everyone that the jurors are

4    still deliberating, have requested that they be able to leave

5    for the day at 5:00 p.m.          They have also requested that Monday

6    morning -- that they be able to begin deliberations at 9:30.

7              I have advised them that they are -- well, I haven't

8    advised them.      I will advise them when they come in that they

9    are to remain in the vestibule until all 10 of them are here on

10   Monday morning.      And then the court security officer will bring

11   them in the jury room, which will be locked.

12             As well, with regard to your items, we do need the

13   courtroom Monday morning.           So I would just ask that you would

14   be kind enough to -- although I see you have pretty much moved

15   everything.    So if you have some items, take your time to take

16   them out of the courtroom.            And of course you're free to use

17   the conference rooms, if you do need their use.

18             I would suggest on Monday that you just keep in

19   contact with Liz.      She has your contact information.                    And I

20   will see everyone -- if not before I will see everyone at 5:00

21   p.m. on Monday.

22             MR. RIVERO:     Judge, just for planning purposes, is it

23   the Court's practice to -- I think I'm reading it.                        You have

24   the jury come back in at 5:00 and the parties be present at

25   that time?

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1               THE COURT:    At 5:00 p.m.               Not in the morning.          But I

2    do like to daily give them the admonition.

3               MR. RIVERO:    But not in the morning.

4               THE COURT:    Not in the morning.                      So you do not need to

5    be here Monday morning at 9:30.

6               MR. BRENNER:     And as far as how -- I just want to do a

7    time frame.    Do we need to be across the street or perhaps a

8    few blocks away?

9               THE COURT:    Well, certainly I don't intend for you to

10   hang in the -- out in the courthouse for the next week.                           I

11   mean, I don't know how long the jurors are going to deliberate.

12              So what I would suggest is just communicate with Liz.

13   And if you're back at your offices, and you need some time to

14   come back to the courthouse, in the event that the jurors have

15   a question or arrive at the verdict, we'll certainly -- we're

16   going to wait until you're here.                  So if that's your question,

17   Mr. Brenner --

18              MR. BRENNER:     I'm just trying to figure out how many

19   minutes I have.     Is it two minutes or three minutes?

20              THE COURT:    We're not going to impose a certain amount

21   of time.    I recognize that you're busy and you need to go back

22   to work.

23              Anything further before we bring the jury out?

24              MR. RIVERO:    No, not from the Defense, Your Honor.

25              MR. FREEDMAN:      Not from the Plaintiffs, Your Honor.

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1               THE COURT:   Okay.         Let's bring the jury back in.

2         (Before the Jury, 5:00 p.m.)

3               THE COURT:   All right.              Welcome back, Ladies and

4    Gentlemen.    Please be seated, everyone.

5               I've been advised by the courtroom deputy that you

6    would like to go home for the evening.                        It is close to 5:00.

7    So of course -- I understand that you will not be deliberating

8    tomorrow because some of you do have commitments.                       So I will

9    expect to have you back on Monday.                     And that is specifically

10   Monday, November 29th, after the holiday weekend.                       And you have

11   requested at 9:30.

12              So I want to make sure that you understand that the

13   jury room will remain locked.               Everything in the jury room will

14   remain secure.     I would ask that you come into the vestibule.

15   There are some couches and chairs.                     I would ask that you wait

16   until all 10 of you are here.               And when all 10 of you are here,

17   then you will be brought into the jury room to continue your

18   deliberations.

19              Please remember that, as we adjourn for the weekend --

20   first and foremost, I hope you have a wonderful holiday.                         But

21   as we adjourn for the weekend, you're not to discuss this case

22   with anyone, nor permit anyone to speak with you.                       You're not

23   to conduct any independent research.                      All of the evidence has

24   been presented and you'll continue your deliberations on Monday

25   morning.

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1               So with that understanding, I understand that there

2    are some letters for your employers that you have requested,

3    and I think Liz has made those arrangements.                            So I will see

4    you -- actually, I won't see you, but the courtroom deputy and

5    the court security officer will see you Monday morning at 9:30

6    outside in the vestibule.

7               Have a pleasant holiday weekend.                           We'll see you at

8    that time.

9         (Jury not present, 5:03 p.m.)

10              THE COURT:    All right.             Is there anything further we

11   need to address?

12              MR. FREEDMAN:      Not from Plaintiffs, Your Honor.

13              MR. RIVERO:    No, Your Honor.

14              THE COURT:    All right.             Have a wonderful holiday

15   weekend.    I'll see you on Monday.

16        (Proceedings adjourned at 5:03 p.m.)

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1    UNITED STATES OF AMERICA                  )

2    ss:

3    SOUTHERN DISTRICT OF FLORIDA              )

4                            C E R T I F I C A T E

5               I, Yvette Hernandez, Certified Shorthand Reporter in

6    and for the United States District Court for the Southern

7    District of Florida, do hereby certify that I was present at

8    and reported in machine shorthand the proceedings had the 23rd

9    day of November, 2021, in the above-mentioned court; and that

10   the foregoing transcript is a true, correct, and complete

11   transcript of my stenographic notes.

12              I further certify that this transcript contains pages

13   1 - 192.

14              IN WITNESS WHEREOF, I have hereunto set my hand at

15   Miami, Florida this 1st day of December, 2021.

16

17                          /s/Yvette Hernandez
                            Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
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               No Proof Bitcoin 'Inventor' Owed Friend, Juror Tells
               Law360
               By Carolina Bolado

               Law360, Miami (December 23, 2021, 3:02 PM EST) -- The estate of computer forensics expert Dave
               Kleiman had only two jurors on its side in its attempt to get bitcoins from self-professed bitcoin
               inventor Craig Wright, who had the support of the remaining members of the jury over six days of
               deliberations, according to one of the jurors.

               Attorneys for Ira Kleiman, who represents his brother's estate, couldn't come up with enough
               evidence to convince the jury that Dave Kleiman was involved in developing the technology or
               mining bitcoins, according to the juror, who asked to remain anonymous.

               "They never proved to me without a shadow of a doubt that he was involved in bitcoin in any way,"
               the juror said. "Everybody said he wasn't a miner, he wasn't a coder. I just felt like he may have
               written papers for Dr. Wright, and that's where their friendship was."

               Jurors deliberated for more than a week, as the two holdouts in Kleiman's camp pored through all the
               evidence, according to the juror.

               "They finally realized there was no positive connection with bitcoin," the juror said. "That's when they
               agreed that as far as liability towards bitcoin, there was none."

               Eventually, the jury came back with a win for Wright on six of the seven claims in the suit. The
               jury awarded W&K Info Defense Research LLC — the company that Dave Kleiman and Wright started
               in 2011 — $100 million on a count of conversion for the intellectual property moved by Wright from
               the company to his own entities.

               The juror said everyone agreed early on that Wright was liable for conversion of intellectual property,
               but they were split primarily on whether the estate was owed any of the 1.1 million bitcoins at issue
               in the case. The bitcoins, which are worth almost $50 billion today, were mined by Satoshi
               Nakamoto, the pseudonymous author of the October 2008 white paper that described a "peer-to-
               peer version of electronic cash" that would later become bitcoin. The Australian-born Wright claims to
               be Nakamoto.

               During the course of the three-week trial, attorneys for Ira Kleiman said Wright repeatedly referred
               to Dave Kleiman as his business partner after his death and told Ira Kleiman that his brother had
               been a key part in the creation of bitcoin. But Ira Kleiman said Wright changed his story once the
               lawsuit was filed and began saying Dave Kleiman had been no more than a good friend.

               Wright testified that, at most, Dave Kleiman helped clean up the grammar on the bitcoin white paper.
               Wright said Dave Kleiman was not a coder and never helped create the bitcoin code or debug it.

               The juror said that the personalities of Dave Kleiman and Wright did not play a significant role in the
               verdict, and that they looked strictly at the evidence in the computer exhibit the court gave them.

               But the juror did not warm to Ira Kleiman because he did not testify about visiting his brother at the
               hospital when he was ill. Dave Kleiman used a wheelchair and was in and out of the hospital
               continually with serious health problems in the years leading up to his death in 2013. The parties
               were barred from discussing the brothers' relationship, according to a pretrial order from U.S. District
               Judge Beth Bloom.
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               "In three years he didn't go to the hospital?" the juror said. "That clouded my view as far as what the
               actual record stated."

               The evidence presented by the defense on Ira Kleiman's decisions to reformat the hard drives
               found at his brother's house also stuck with the juror, who said that "gave me an idea that he was
               trying to hide something."

               The juror was impressed by Wright, who was on the stand for several days, and found the testimony
               by the defense's autism expert particularly interesting. The expert was put on the stand to explain
               how Wright's statements could be misconstrued because of his autism, which often makes it difficult
               for others to understand him.

               "For Dr. Wright to have the tunnel vision that he had toward seeking education and getting all the
               degrees that he got, that just really amazed me," the juror said.

               When asked about documents produced by Wright that the plaintiffs demonstrated were forged, the
               juror said there was "a lot of ambiguity in that" and no "concrete proof" that the signatures on the
               documents were not valid.

               "I'm not surprised by this description of the jury's work because they were very careful, and that's
               why they reached the right result," Wright's attorney Andrés Rivero told Law360.

               Ira Kleiman sued Wright in February 2018, claiming that after his brother's death, Wright schemed to
               steal 1.1 million bitcoins and intellectual property related to bitcoin software. Ira Kleiman argued that
               Wright breached an oral partnership agreement to mine bitcoins and develop bitcoin-related
               technology when he cut Dave Kleiman out of any assets from the partnership, which Wright
               maintains did not exist.

               At trial, Ira Kleiman presented evidence of two suits Wright filed against W&K in Australian court
               after Dave Kleiman's death, seeking $56 million. In those suits, Wright said he and Dave Kleiman
               each owned 50% of W&K. He eventually got consent judgments against the company and used them
               to transfer its intellectual property assets to his own entities in Australia.

               Ira Kleiman's team also showed jurors emails, text messages and other communications between
               Wright and others in which Wright referred to Dave Kleiman as his partner.

               Wright's attorneys, on the other hand, pointed to the complete lack of communications between
               Wright and Dave Kleiman discussing plans to develop or mine bitcoin.

               An attorney for Ira Kleiman declined to comment.

               Ira Kleiman is represented by Devin "Vel" Freedman, Joseph M. Delich, Kyle Roche, Constantine Philip
               Economides and Stephen Lagos of Roche Freedman LLP, and Andrew Scott Brenner, Maxwell V. Pritt,
               Laselve Elijah Harrison and Stephen N. Zack of Boies Schiller Flexner LLP.

               Wright is represented by Andrés Rivero, Amanda Marie McGovern, Jorge A. Mestre, Michael A.
               Fernández, Alan H. Rolnick, Daniela Tenjido Sierra, Schneur Zalman Kass and Zaharah R. Markoe of
               Rivero Mestre LLP.

               The case is Kleiman v. Wright, case number 9:18-cv-80176, in the U.S. District Court for the
               Southern District of Florida.

               --Editing by Adam LoBelia.


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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

      IRA KLEIMAN, as personal
      representative of the estate of David
      Kleiman, and W&K INFO DEFENSE
      RESEARCH, LLC

             plaintiffs,
      v.                                                                   Case No. 9:18-cv-80176 (BB/BR)

      CRAIG WRIGHT,


             defendant.
                                                           /


                 JOINT NOTICE AND REQUEST FOR JUDICIAL RULING ON
                 PROPOSED REDACTIONS TO ADMITTED TRIAL EXHIBITS

                                           Parties’ Joint Statement

           Following the trial of this matter, and pursuant to the direction of the Court, the parties

  jointly filed the exhibits that had been admitted into evidence during trial. [ECF No. 835]. In

  connection with that filing, each of the parties requested that certain exhibits be filed under seal

  and/or with certain redactions.

           As part of that process, Dr. Wright filed a motion to file 50 trial exhibits under seal. 1

  Plaintiffs opposed that motion. On January 6, 2022, this Court issued an Order granting in part

  and denying in part Dr. Wright’s Motion. [ECF No. 866]. Specifically, the Court ruled that

  although the exhibits could not be filed under seal as requested, the Court allowed Dr. Wright to

  redact “personally identifiable information” and “financial account information” from the

  documents.



  1
   Plaintiffs sought to file the medical records of Decedent David Kleiman under seal. That request was not opposed
  by Dr. Wright.
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           Following receipt of the Court’s Order, Dr. Wright proposed redactions that it believed

  were consistent with the Court’s order. For some documents consistent with the Court’s Order,

  Dr. Wright will file the exhibits without redactions (P078, P094, P096, P127, P137, P143, P172,

  P173, P175, P191, P209, P215, P219, P223, P229, P230, P296, P308, P315, P337, P457, P469,

  P565, P598, P685, P742, P871). For others, Dr. Wright proposed partial redactions (J101, P074,

  P097, P101, P135, P140, P169, P214, P310, P320, P350, P464, P554, P604, P607, P613, P633,

  P637, P795).

           Thereafter, Plaintiffs reviewed Dr. Wright’s proposed redactions. The parties then met and

  conferred. Although the parties were able to reach agreement on many of the proposed redactions,

  there remain several exhibits where the parties have been unable to agree. However, as described

  below, the area of disagreement is discrete.

           The parties believe that this presentation of a joint statement on the procedural history,

  followed by brief statements from each party on the remaining issues in dispute, is the most

  efficient way for the Court to resolve their disagreement, and allow for completion of the filing of

  the exhibits admitted at trial.2 Accordingly, below is a description of each side’s position on the

  remaining disputed issues.

                                                 Plaintiffs’ Position

           Following this Court’s Order on Defendant’s Motion to Seal, Defendant proposed

  redactions to the following documents: J101, P074, P097, P101, P135, P140, P169, P214, P310,

  P320, P350, P464, P554, P604, P607, P613, P633, P637, P795.

           For exhibits J101, P310, and P350, Plaintiffs agree with Defendant’s proposed redactions

  and have no objection to those exhibits being filed in the proposed redacted form.


  2
   Concurrent with this filing the parties jointly file the exhibits to which no redactions apply pursuant to the Court’s
  Order or to which the parties agree to the limited redactions proposed by Dr. Wright consistent with the Court’s Order.

                                                            2
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           For the rest of the exhibits, Plaintiffs disagree with all or some of the proposed redactions.

  However, the parties’ disagreement is narrow. 3 Specifically, for each of these exhibits, Defendant

  has proposed to redact public bitcoin addresses (more specifically, all characters of those addresses

  except the last four) and all references to bitcoin transactions contained in the documents.

  Plaintiffs’ objection is simple – bitcoin public addresses and bitcoin transactions, which are all

  recorded on a public register, are neither “personally identifiable information” or “financial

  account information.” Accordingly, neither fall under the narrow category of information that the

  Court, in its Order dated January 6th, could be redacted from the public filings.

           As set forth in Plaintiffs’ opposition to Defendant’s Motion to Seal each of these documents

  in their entirety, there is a strong presumption in favor of public access to judicial proceedings,

  including the documents introduced into evidence in those proceedings:

           The public has a “common-law right of access to judicial proceedings,” which “includes
           the right to inspect and copy public records and documents.” Romero v. Drummond Co.,
           Inc., 480 F.3d 1234, 1245 (11th Cir. 2007). Indeed, “the common-law right of access to
           judicial proceedings, an essential component of our system of justice, is instrumental in
           securing the integrity of the process.” Id. (quoting Chicago Tribune Co. v.
           Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001)). The public’s right
           to access judicial records “creates a rebuttable presumption in favor of openness of court
           records.” Gubarev v. Buzzfeed, Inc., 365 F. Supp. 3d 1250, 1256 (S.D. Fla. 2019)
           (citation omitted).

           Public bitcoin addresses and public bitcoin transactions are not confidential, and

  Defendant’s proposed redaction of them runs afoul of the presumption of openness of court

  records.     Accordingly, Plaintiffs respectfully suggests that these proposed redactions be

  disallowed, and the exhibits be filed on the public docket accordingly.




  3
   For exhibits P140, P169 and P214, Defendant has proposed some redactions, such as personal addresses which
  Plaintiffs do not object to. Plaintiffs do object to other proposed redactions in these exhibits for the same reasons
  discussed in this Joint Filing.

                                                              3
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                                         Dr. Wright’s Position

         As this Court learned during the course of this case, the Blockchain is a public ledger that

  includes a lot of information. However, what is not included publicly, are the individuals or

  entities associated with that information, which maintains the privacy and confidentiality of the

  individual. Counsel for Plaintiffs themselves alleged in a complaint they filed in New York that

  “A transfer of bitcoin is public to the extent that anyone can see the transferor’s bitcoin address,

  the recipient’s bitcoin address, and the quantity of assets transferred. That is, anyone could see

  that bitcoin address 1s5F transferred 10.3 bitcoin to bitcoin address R3w9. The names of the

  individuals or entities that control these addresses, on the other hand, are private.” Amended

  Consolidated Class Action Complaint, IN RE TETHER AND BITFINEX CRYPTO ASSET

  LITIGATION, No. 19 Civ. 9236 (KPF), 2020 WL 4282364 at ¶ 103 (S.D.N.Y. June 5, 2020).

  Thus, associating public bitcoin addresses and related information with a particular individual is,

  in fact, confidential, and akin to publicly disclosing an individual’s financial account number.

  For each transaction recorded on the Blockchain, one case reverse-engineer the entire transaction

  using any of the following information: block height, transaction ID, block_hash, public bitcoin

  address, public bitcoin key. Therefore, once a particular individual is associated any of this

  information, it is essentially akin to providing that individual’s financial account number.

         Under this Court’s Order [ECF No. 866 at p. 3] as well as under the relevant rules (Fed.

  R. Civ. P. 5.2, S.D. Fla. CM/ECF Admin. P. 6A), financial account numbers must be redacted

  only to show the last 4 digits. That is precisely what Dr. Wright has proposed in his redactions –

  redacting all information regarding the bitcoins except for the last 4 digits of the public bitcoin

  address. Indeed, when Dr. Wright previously sought to keep such financial information under

  seal [ECF. No. 542], this Court agreed that such information could be redacted from exhibits and



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  one exhibit could remail under seal entirely [ECF No. 578]. Moreover, during the trial, this Court

  suggested and allowed the parties to stipulate that a public bitcoin address could be truncated

  during trial when a potential witness testified about it. Trial Tr. Day 3 at 15:16-25 [ECF No.

  839].

          Other courts have recognized that bitcoin addresses are similar to bank account numbers.

  United States v. Gratkowski, 964 F.3d 307, 309 (5th Cir. 2020) (“Each Bitcoin user has at least

  one “address,” similar to a bank account number, that is a long string of letters and numbers.”);

  Shin v. ICON Found., 2021 WL 1893117, at *2 (N.D. Cal. May 11, 2021) (describing a bitcoin

  address as “like the account number of a conventional bank account”); United States v. Twenty-

  Four Cryptocurrency Accts., 473 F. Supp. 3d 1, 3 (D.D.C. 2020) (same); United States v.

  Ulbricht, 858 F.3d 71, 85, n.7 (2d Cir. 2017) (same). Indeed, counsel for plaintiff, Roche

  Freedman LLP, in a complaint filed in the Southern District of New York, alleged that a bitcoin

  address is “like the account number of a conventional bank account.” Amended Consolidated

  Class Action Complaint, IN RE TETHER AND BITFINEX CRYPTO ASSET LITIGATION,

  No. 19 Civ. 9236 (KPF), 2020 WL 4282364 at ¶ 100 (S.D.N.Y. June 5, 2020).

          While the exhibits at issue were admitted into evidence, the information that Dr. Wright

  now seeks to redact was not highlighted during the trial. Therefore, the Court’s functions and the

  public’s access to judicial proceedings would not be impaired by the proposed redactions. Indeed,

  the Federal Rules of Civil Procedure as well as this Court’s rules contemplate and approve of the

  redaction of financial account numbers. Fed. R. Civ. P. 5.2, S.D. Fla. CM/ECF Admin. P. 6A.

  Since the bitcoin information that Dr. Wright seeks to redact is akin to financial account numbers




                                                   5
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  particularly after they are associated with him, the proposed redactions are proper and should be

  permitted under this Court’s Order.4

      Dated: January 31, 2022                                    Respectfully submitted,

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                                                                 Representative of the Estate of David Kleiman
                                                                 and W&K Info Defense Research, LLC.

                                            CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on January 31, 2022, a true and correct copy of the foregoing
        was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                                    /s/ Amanda McGovern
                                                                    Amanda McGovern




  4
      Dr. Wright will provide the proposed redactions to the Court by electronic means should the Court so require.

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                         CERTIFICATE OF SERVICE

        I CERTIFY that on November 30, 2022, I electronically filed this

  document with the Clerk of Court using CM/ECF. I also certify that this

  document is being served today on all counsel of record by transmission of

  Notices of Electronic Filing generated by CM/ECF.

                                              /s/ Andrés Rivero
                                               ANDRÉS RIVERO
